          Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 1 of 54 Page ID #:41350



               1   David J. Pasternak, CSBN 72201
                   Receiver
               2   1875 Century Park East, Suite 2200
                   Los Angeles, California 90067-2523
               3   Telephone:    310.553.1500
                   Facsimile:    310.553.1540
               4   E-Mail:    djp@paslaw. corn

               5
               6
               7                         UNITED STATES DISTRICT COURT

               8          CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

               9
              10
              11   PERFECT 10, INC., a                          Case No.      2-11-cv-07098-AB
                   California corporation,                      (JPRX)
              12
                                Plaintiff,                      Hon. Andre Birotte,            Jr.
              13
                         vs.                                    NOTICE OF HEARING AflD
              14                                                RECEIVER’S REVISED SECOND
                   GIGANEWS, INC., a Texas                      REPORT MW ACCOUNT FOR THE
              15   Corporation, et al.,                         TIME PERIOD FROM AUGUST 1,
                                                                2017 THROUGH JANUARY 31,
              16                Defendants.                     2018

              17                                                DATE:  MARCH 1, 2019
                   AND RELATED CROSS-ACTIONS                    TIME:  10:00 A.M.
              18                                                COURTROOM:  7B

              19
              20
                         Pursuant to Local Rule 66-6.1 and 66-7(c),                         Receiver
              21
                   David J.      Pasternak submits the following Receiver’s
              22
                   Revised Second Report and Account for the Time Period
              23
                   from August 1,         2017 Through January 31,               2018    for hearing
              24
                   in Courtroom 7B at 350 West l Street,                        Los Angeles,         CA
              25
                   90012-4565 on Friday,             March 1,      2019 at 10:00 a.m.
              26
                         On February 24,          2017,    David J.      Pasternak was
              27
                   appointed as Receiver in this matter to take sole and
              28
 PASTERNAK                                                                          2-11-cv-07098-AB (JPThc)
& PASTERNAK        (00209478.DOCX 66390.0001                      1
                    NOTICE OF HEARING AND RECEIVER’ S REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                                         PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 2 of 54 Page ID #:41351
                                                                                           4




     1   immediate custody, possession and control of all of the

     2   intellectual property of Perfect 10,               Inc.   (“Perfect

     3 10”),    including but not limited to its domain names,

     4 copyrights,       copyright interests,         trademarks,      trademark

     5 interests,      and associated goodwill, and related

     6   interests    (“the Property”)       .   The Receiver was directed

     7 by this Court to sell the Property in order to satisfy
     8 this Court’s Judgment.
     9        The Receiver previously submitted this Second Report

    10 and Account for hearing on June 18, 2018.                    Prior to that

    11   hearing,    the Receiver was advised by the Court that the

    12 Court had granted his proposed Order approving the
    13 Receiver’s Second Report and Account and did not have to
    14 appear for the scheduled hearing.                 Consequently,      the

    15 Receiver did not appear at the noticed hearing.                      The

    16 Receiver was subsequently informed that the Court had
    17 not in fact granted the proposed Order and could not
    18 locate it.        Consequently,      the Receiver is resubmitting

    19 this Second Report and Account for a new hearing date.
    20 The only change from the original Second Report is the
    21   addition of this explanatory paragraph.

    22        The Receiver began serving as this Court’s Receiver

    23 immediately after learning about the issuance of this
    24 Court’s February 24,          2017 Order appointing him as

    25 Receiver.       Shortly thereafter, pursuant to this Court’s

    26 authorization, he retained SoCal IP Law Group LLP
    27   (“SoCal”)    as his intellectual property attorneys

    28 pursuant to a Legal Services Agreement previously filed
       (00209478.Docx 66390.0001 } 2            2-l1-cv-07098-AB (JPRX)
         NOTICE OF HEARING AND RECEIVER’S REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                       PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
             Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 3 of 54 Page ID #:41352



                 1 with this Court.
                 2         With SoCal’s assistance and the cooperation of

                 3 Perfect 10 and its principal, Norman Zada,                    the Receiver
                 4 believes that he has taken custody, possession and
                 5 control of all of the Property.                 SoCal has coordinated
                 6 the filing of all necessary notices and registrations in
                 7 order to transfer the Property to the Receiver,                      and the
                 8   filing of all updates necessary to keep the

                 9 registrations current.             During this time period,           the
                10 Receiver and Norman Zada entered into a Declaration of
                11 Assignment, a copy of which is attached as Exhibit 1.
                12        On April 4,      2017,    the Receiver filed and served a

                13 summary Inventory identifying the property and documents
                14   in his possession.         The Receiver’s office has prepared a

                is   detailed listing of the Property which is hundreds of

                16 pages long,       and consequently is not being filed with

                17 this Court because of its volume.
               18         As previously reported,           the Receiver has a self-
               19 storage unit for most of the Property, but also has
               20 entered into an Agreement with PacificTitle Archives,                         a
               21    copy of which has previously been filed with this Court,

               22    for the storage of film stock which requires special

               23 handling and maintenance.
               24         The Receiver previously reported that he learned

               25 that Perfect 10 had an appeal pending at the
               26 Bundesgerichtshof           (the German High Court)          in Germany
               27 against AOL Deutschland Medien GmbH concerning the
               28 alleged unauthorized use of eight photographs or images.
                  (00209479.00c 66390.0001 )  3            2-11-cv-07098-AB (JPRx)
&PASTERNAK
                     NOTICE OF HEARING AND RECEIVER’S REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                                   PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
      Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 4 of 54 Page ID #:41353



              1   The Receiver was informed by Perfect 10’s German counsel

              2 that Perfect 10 had filed an action against AOL Germany
              3 asking for the prohibition of the provision of public
              4 access to certain pictures subject to Perfect 10’s
              5   intellectual property rights as well as disclosure and

              6 damages.           The case was dismissed by judgment of Hamburg

              7 District Court dated December 3,                 2010, ruling that there

              8 was no case against AOL Germany as far as results of its
              9 search engine were concerned.                  The regional court of

             10 appeal granted leave to appeal to the Federal Supreme
             11   Court,     with the hearing on September 21,            2017.     At that

             12 hearing, the German Supreme Court dismissed the appeal.
             13 A copy of the judgment dismissing the appeal is attached
             14 as Exhibit 2.                 Perfect 10 thereafter had the option of

             15 claiming a violation of fair hearing before December 27,
             16 2017 or filing a constitutional complaint to the German
             17 Federal Constitutional Court before January 11,                      2018.

             18 The Receiver was advised by Perfect 10’s German counsel
             19 that either approach was unlikely to be successful.
             20 when Mr. Zada urged the Receiver to pursue the case,                          the

             21   Receiver asked Mr.              Zada to advance the funds to pursue

             22   either of these alternatives.                Mr.   Zada refused to

             23 provide the necessary funding.                  Consequently,     the

             24 Receiver took no further action regarding the German
             25 case.
             26          After communicating with potential purchasers of the

             27 Property,          the Receiver negotiated with Plaintiff and Mr.

             28   Zada for the sale of all of the Property.                  After
                  {oo209478.oocx 66390.0001   )            4               2—l1-cv—07098-AB   (JPRX)
&PASTERNAK
                  NOTICE OF HEARING AND RECEIVER’S REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                                PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
         Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 5 of 54 Page ID #:41354



              1   Plaintiff made the highest purchase offer,                  the Receiver

              2 negotiated the terms of the sale contract with
              3 Plaintiff’s counsel.             Those negotiations were continuing

              4 at the end of January, 2018.                The sale will be subject

              5 to overbidding at the future hearing before this Court
              6 to approve and confirm the sale of the Property.
              7           A financial report detailing the receipts and

              8 disbursement of this Receivership Estate for the time
              9 period from August 1,            2017 through January 31,           2018 is
             10 attached as Exhibit 3.             As detailed in that financial
             ii   report,       receipts during the time period from August 1,

             12 2017 through January 31,             2018 totaled $75,009.58           (which
             13   includes $75,000 received from Plaintiff in exchange for

             14 the Receiver’s third Receiver’s Certificate),
             15 disbursements totaled $33,729.36 during this time
             16 period, and the Receivership Estate held $41,682.55 in a
             17 segregated interest-bearing business checking account at
             18 Vt Century Bank on January 31, 2018.                   l Century Bank
             19 is a bank located in the same Century City office
             20 building as the Receiver’s office.
             21          The Receiver has separately filed and served the

             22 billing statements for his office and for SoCal for the
             23 time period from August 1,             2017 through January 31,           2018
             24 attached to six Notices of Receivership Fees and Costs
             25   for each of those months.            During that time period,           the
             26 Receiver’s fees and costs totaled $8,581.66,                    all of
             27 which has been paid.            During that time period,           SoCal’s
             28   fees and costs have totaled $12,182.55,                all of which has
&PAJTERNAK                            }
                  {00209478.Docx 66390.0001                                2-11-cv-07098-AE (JPRX)
                  NOTICE OF HEARING AND RECEIVER’S REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                                PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 6 of 54 Page ID #:41355



              1 been paid.


              3 DATED:          January 4,         2019
                                                          (\4\ J
                                                          David 3. pasternak
              5                                           Receiver

              6
              7
              8
              9
             10
             11
             12
             13
             14
             15

             16
             17
             18
             19
             20
             21
             22
             23
             24
             25
             26
             27
             28
                  {0020947a .DOCX 66390.0001   )            6             2 -11-cv-07098-AB   (JPRx)
&PASTERNAK
                  NOTICE OF HEARING MID RECEIVERS REVISED SECOND REPORT AND ACCOUNT FOR THE TIME
                                PERIOD FROM AUGUST 1, 2017 THROUGH JANUARY 31, 2018
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 7 of 54 Page ID #:41356
                    C                             C




                    Exhibit 1
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 8 of 54 Page ID #:41357




                                     Declaration of Assignment
        whereas

                    PERFECT 10, INC.,

        a company organized under the laws of the United States of America, resident at

                    11803 Nodleld Court
                    Los Angeles, CA 90077
                    UNED STATES

        —   hereinafter referred to as ASSIGNOR    —




        Is the owner of the following trademarks:

                     (a)   Name:                PERFECT 10
                           Number               97704285
                           Application date:    1997-11-14

                     (b)   Name:                 NATURAL 10
                           Number                98723724
                           Application date:     1998-03-19

        -    hereinafter referred to as the TRADEMARKS, and

        whereas

                    David .1. Pastemak,

         a natural person under the laws of the United States of America, resident at

                     310N.WesUakeBNd., Suite 120
                     WestiakaYikage, CA 91362
                     UNITED STATES

         —   hereinafter referred to as ASSIGNEE    —




         Is desirous of acquiring all rights, titles, Interests, and obligations of the ASSIGNOR with respect to the
         TRADEMARKS.




            Oibricht Patentanwalte 10/2017                         Exhibit   __f_     Page   (p•/        Page 1 of 2
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 9 of 54 Page ID #:41358




        Therefore, the ASSIGNOR hereby assigns to the ASSIGNEE all of the ASSIGNOR’s rights, tiUes,
        kiterasts, and obligations with reaped to the TRADEMARKS.


        The ASSIGNEE egsees to receive the assignment of the TRADEMARKS as stated above.


        ASSIGNOR and ASSIGNEE agree that the assignment Is recorded In the tmdemark register of the
        National Institute of Industhal Property in France (INPI).




        ASSIGNOR                                            ASSIGNEE


        PERFECT 10. INC.                                    OavfdJ.Pastemak1     9.ecev-eC
        11803 Norfield Court                                310 N. Westiake Blvd., Suite 120
        Los Angeles, CA 90077                               Wesilake Village, CA 91352
        UNITED STATES                                       UNrIED STATES


  tcr    1&4n              ////?/12                                  1415t1?S     It   IjI7

        Sn,                                                 Sgnain




            A                                               Yà°
                                                              Rec€jevr




        Olbrltht Patentanwälte 10/2017                                                         Page Zofi
                                                                                [‘7
                                                      Exhibit        /   Page
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 10 of 54 Page ID
                                 #:41359




                   Exhibit 2
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 11 of 54 Page ID
                                 #:41360



                                                                                      qen
                                                                  11. uez,       I!!f
                                                                       .   —J   ‘:r—? :,r




                  BUNDESGERICHTSHOF
                        IM NAMEN DES VOLKES

                                     URTEIL
   IZRII/16                                                        VerkOndet am:
                                                                   21. September 2017
                                                                   Führinger
                                                                   Justlzangestellte
                                                                   ala Urkundabeamlin
                                                                   der Gesctiêftsstelle
                                 in dem Rechtsstrait


   Perfect 10 inc., Beverly Park 72, Severly Hills, Kalifornien, Verelnigte Staaten
   vDn Amedka,


                                K)ägeñn und Revislcnskiãgeñn,

   -   Prozessbevollmãchtlgte: Reohtsanwäite Dr. von Piehwe und Schafer           -




                                       gegen

   AOL Deutschiand Median GrnbH, vertreten durch den Geschäftsführer Andreas
   Demuth, Zlrkusweg 1, Hamburg,


                                Beklagte und Revlsionsbekiagte,

   -   Prozessbevollmächtlgte: Rechtsanwälte Prof. Dr. Rohnke i.rnd Dr. Winter          -




                                                           Exhibit a_Page               k’
    Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 12 of 54 Page ID
                                     #:41361



                                              -2-


               Der I. Zivilsenat des Bundesgerlchtshofs hat auf die mUndliche Verhand
        lung vom 21. September 2017 durch den Vorsitzenden Richter Prof. Dr. BQscher,
        die Richter Prof. Dr. Schaffert, Dr. Kirchhoff, Prof. Dr. Koch und Feddersen


        für Recht erkannt


               Die Revision gegen des Urtell des HanseaUschen Obedandesge
               rlchts Hamburg 5. Zivllsenat yam 10. Dezember 2015 wird auf
                               -             -




               Kosten der Klägedn zuruckgewiesen.


                                       Von Rechts wegen


                                          Tathestand:

                Die in Kalifomien geschãftsansässlge KIgerln betrelbt die internetseIte
         ,,www.perfectl 0.camd, auf der sb erotlsche Fotografien anbietet. Bestimmte In
         halte Ihres intemetauftritts können nur von reglstderten Kunden gagen Zahiung
         elnes Entgelts und nach EIngabe elnes Passworts genutt werden, Die Kunden
         durfen die im passwortgeschOtzten Bereich elngestellten Aktfotograflen auf ihre
         Rechner heruntedaden.

2               Die Bekiagte betreIbt unter dem Domainnamen ,www.aol.com° em Inter
         netportai, auf dam sle versohiedene DiensUelstungen anbietet Dazu zãhit die
         kostenfrele DurchlQhmng amer Bilderrecherche anhand von Suchi?egrlffen, die
         Nutzer in ama Suchmaske auf der Webselte der Bekiagten elngeben kannen.
         Für die Durchfühwng der Bilderrecherche greift die Beklagte auf den Internet
         suchdlenst der Google. Inc. (Tm Foigenden Googie) zurOck, zu dam sTe auf ihrer
         Webseite amen eiektronischen Verwels (Link) gesetat hat. Die Suchmaschine
         Googie ermittelt die In, Internet vorhandenen Bilddateien, indem Computerpro
         gramme (sogenannte Crawler) die Intemetseiten In regelmäBigen Zeltabstan
         den nach dort elngestellten BiIdem durchsuchen. Dabei können die Crawler nur

                                                            Exhibit_      Page   9
    Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 13 of 54 Page ID
                                     #:41362




                                            -3-


      Blider aufspuren, die auf freT zugangllchen Internetseiten eingesteiit sind. Die
      aufgefundenen Bilder werden in elnem automailsierten Verfahren nach Such
      begriffen indexiert und ala kisinformaflge Vorsohaubilder auf den Seivem von
      Googie gespeichert. Geben die Internetnuizer in die Suchmaske der Bekiagten
      amen Suchbegriff sin, werden die von Googie hierzu indexierten Vorsohaubilder
      abgerufen und auf der Wobseite der Bekiagtan in Ergebnisiisten angezeigt.

3           Bei Eingabe der Suchbegriffe 7Aiexandra Cornfeld’ und 0Aiexa Latona” in
      die Suchmaske der Beklagten wurden am 9. mid 11. Juni 2009 unter der Kopf
      zelle ,AOL Blidersuche Suchergebnisse” jeweils vier verkielnerte Akifotograflen
      von zwsi unter diesen Pseudonymen auftretenden Models als VorschaubUder
      angezelgi Die Blldersuohmaschine Googie halts die Fotograflon auf den inter
      netselten www.mmmh.com.ar und www.kep.tar.hu” aufgeftnden. Die Such
      masks der Beklagten war zu dieser Zeit mit dem Vermerk AOL-Such& und
      dem Hinweis 1powered by Googie” versehen.

4           Die Klägerin mahnte die Beklagte mit Schrelben vom 16. Juni 2009 unter
      Berufung auf This ausschiielLilchen urheberrechflichen Nutzungsrechte an den
      Fotografien ab. Die Bekiagte sperrte darauthin die Namen Alexandra Cornfeid”
      und ,,Aiexa Latona” ais Suchbegriffe, ohne sine strafbewehrte Unteriassungser
      kiärung abzugeben.

5             Die Klägerin hat behauptet, sie habs die ausschiieThlichen Nutzungsrech
      to an den acht Fotograflen erworben und diese, versehen mit der Auftchrift
      ,,PerfectW.com” und sham Copyright-Vermerk, In den passwortgeschOtzten
      Bereich ihrer intemetsaite aingesteilt. Von dort häften Kunden die Bilder hewn
      tergeladen mid uneriaubt auf den von der Suchmaschine Googie .aufgefunde
      nen Intemetseiten veräffenflicht. Drei der Fotograflen salon noch am 16. bzw.
      21. Juli 2010 und sieben der Fotograflen ricoh am 7. September 2015 auf der
      Webseite der Bekiagten als Vorscháubilder angezeigt worden. Die Klãgerin hat
      geltend gemacht, durch die Anzeige der Vorschaubllder auf der internetseite
      der Bekiagten set ihr ausschileBiiches Recht zur öffentlichen Zugängiichma

                                                        Exhibit _Page/O
    Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 14 of 54 Page ID
                                     #:41363



                                               -4-


        chung der Lichtbiider veriotzt worden. Für diese Verietzung hafte die Bekiagte
        ais Täter, zumindest aber ala Starer.

6             Die Kiägerin hat zuietzt beantragt, die Bekiagte unter Androhung von
         Ordnungsmfttein zu verurteflen, es zu unterlassen, die aus der Anlage BK I er
         sichtiichen, mit den Ziffem I bis 8 versehenen Fotografien in der Bundesrepub
         ilk Deutschiand âffentiich zugängiich zu machen oder öffentllc zugängilch ma
         chen zu lassen. Ferner hat sie die Bekiagte irn Wege der Stufenkiage auf Aus
         kunfiserteliung und Schadensersatz in Anspruch genommen.

7              Des Landgericht hat die Kiage abgewieson. Die Beruffing der Kiägedn 1st
         ohne Erfoig gebiieben. Mit ihrer vom Bemfungsgerlcht zugelassenen Revision,
         deren ZurUckweisung die Beklagte beantragt, verfolgt die Kiägerin ihre Kiage
         antrâge weitpr. Zum Unterlassungsantmg beantragt ste hiifswelse, die Bekiagte
         unter Androhung von Crdnungsmittein zu vemrtelien, es zu unteriassen, as Drit
         ten zu ermögiichen, die aus der Aniage BK I ersichtiichen Fotografien in der
         Bundesrepublik Deutsohland öffenflich zugängiich zu machen oder öffentiich
         zugângiich machen zu lessen. Zurn Antrag auf Auskunftserteiiung und Scha
         densersatz beantragt sie hiifsweise Leistung an den durch Entscheidung des
         United States District Court, Central DLstrlct of California, Western DivisTon, vom
         24. Februar 2017 eingesetzten Receiver, Rechtsanwalt David J. Pasternak,
         Pasternak & Pasternak, zu erbringen.

                                       Entscheidungspründe:

S              A. Des Bemfungsgedcht hat angenommen, der Klâgerin stünden die gel-
         tend gemachten AnsprQche nlcht zu, wait die Bekiagte die Fotografien weder
         ais Täter rechtswldrig äffentiich zugangilch gemacht habe noch als StäreriQr et
         waige von Dritten begangene Urheberrechtsverieftungen hafte. Dazu hat es
         ausgeführt:

9               Die Fotograflen selen jedenfalis als Lichtbilder urheberrechtllch ge
         schützt. Die Kiägedn sel zur Geitendmachung urheberrechtiicher AnsprOche



                                                            Exhibit   2Page     /1
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 15 of 54 Page ID
                                      #:41364




                                             -5-


       berechtlgt, well sic Inhaberln der ausschfleBllchen Nutungsrechte an den Auf
       nahmen sel. Die Beklagte habe die Lichtbiider jedoch nicht tatemchafthich of
       fentiich zugilngiich gemacht. im Ausgangspunkt komme zwar In Betraoht, dass
       sb sine soiche Handiung ais Täter odor Mlttater begangen habe1 well sb sich
       die von der Suchmaschine Google ermittelten Treffer durch die Einblndung in
       ihr Intemetangebot zu elgen gemachi und die Vorschaubllder In bewusslem und
       gewoiltam Zusammenwirken mit Google angezeigt habe. Da die Fotogmflen im
       frei zugangiichen Internet aufflndbar gewesen salon, setze ihre bffentllcho Zu
       gängllchmachung aber voraus, dass die Klägerln sic nur für em beschrãnktes
       Pubilkum wiedergegeben und nicht an sine Wiedergabe gegenuber alien inter
       netnutzem gedacht habe. Die Klãgerin habe jedoch nlcht bewlesen, dass die
       Fotograflen ausschiieBiich im passwortgeschüftten Bereich ihres Internetange
       hots elngesteiit gewesen seien und abe lhren Kunden nicht das Recht einge
       rãumt habe, die heruntergeladenen Bliddateien in andere intemetseiten elnzu
       stellen. Jedenfails ware eine untersteilte Tathandiung der Beklagten In Ge
                                      -            -




       stabt elner öffentlichen Zugângiichmachung aufgmnd elner (schiichten) Einwillb
       gung der Kiägerln nicht rechtswldrlg.

10            Die von der Klägedn hllfsweise geitend gemachte Starerhaftung schiage
       sich in der Fassung des UnteHassungsantrags nicht hlnraichend nleder und
       komme auch in der Sache nlcht in Betracht, Es fehie beroits an einerrechtswld
       rigen Utheberrechtsvedetzung sines Ddtten, zu der die Bekiagte elnen Beitrag
       hätte leisten kânnen. Auaerdem kOnne nlcht devon ausgegangen warden, dass
       der Bekiagten Prüf- odor Obeiwachungspflichten zur Verhindewng vergleichba
       rer Rechtsverietzungen zumutbar seien. im Ubrigen habe die Kiãgerln nlcht
       substantiled dargeiegt i.rnd unter Bewels gesteiit, dass es zu weiteren gleicharti
       gen Urheberrechtsverstogen Ober des internetangebot der Bekiagten gekom
       men sei, nachdem diese dumh die Abmahnung (thor die UrheberrechtsverstöThe
       in Kenntnis geseftt worden seT.

11          B. Die gegen diese Beurteibung gerbchtete Revision der K(ägerln hat kel
       nen Erfoig. Das Berufungsgerbcht hat im Ergebnis mit Recht angenommen

                                                        Exhibit% Page/I
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 16 of 54 Page ID
                                      #:41365



                                                -6-


         dass die mit der Kiage geitend gemeobten Anspruche unbegriindet sind, well
         die Beklagte für etwaige Verleizungen des ausschiieBlichen Rechts zur âffenlli
         then Wiedergabe der Fotograflen nicht hafleL

12              I. Die Kiägerin 1st befugt, die KlageansprOche gerichtilch geitend zu ma
         chen. ihrer ProzessfQhrungsbefugnLs steht nicht entgegen, dass der United Sta
         tes District Court, Central District of California, Western Division, mit Order yam
         24. Februar 2017 zur Voflstreckung elnes gegen die Klägerin eiwirkten Urtells
         omen Zwangsverwalter (Receiver) besteiit hat, der sämtiiche urheberrechtilchen
         AnsprOche der Klëgerln pfänden und verwerten soil. Die Beklagte hat nicht dar
         geiegt, dass der Zwangsverwalter nach der Order des US-amefikanisohen Ge
          richts ermachtlgt 1st, auth die von der Klägerin im vorliegenden Rechtsstreit
          geitend gemachten urheberrechtiIchen AnsprDche wegen amer Verletzung von
          in DeutschIand nach dam Urheberrechtsgesetz geschQ&ten Rechten an den
          Fotograflen zu pfânden und zu veiwerten. Der von der Bekiagten vorgeiegten
          Order vom 24. Februar 2017 1st dies nicht zu entnehmen. Im Obrigen bilebe die
          ProzessfUhrungsbefugnis der Kiägerin selbst bet elner Pfändung und Oberwel
          sung dieser Anspruche bestehen. Wird elne streitbefangene Fordewng rechts
          geschäftlich oder im Wege der Zwangsvolistreckung auf amen Dritten Obertra
          gen, so hat dies gemâ1 § 265 Abs. 2 Satz I ZPO auf den Pmzess keinen Em
          fluss. Der Rechtsvorgänger behãit welter seine Prozessfühwngsbefugnis und
          darf den Rethtsstreit ais Partel im eigenen Namen In sogenannter Pmzess
          standsehaff weiterfOhren (vgi. BGH, Urteil yam 12. Mãrz 1986 VIII ZR 64)85,
                                                                            -



          NJW 1986, 3206, 3207 mwN; Urteil vom 25. Mãrz 1991 II ZR 13/90, BGHZ
                                                                       -




          114, 138, 141; Urteil yam 5 April 2001 IX ZR 441199, BGHZ 147, 225, 229).
                                                  -




13              II. Die von der Kiügedn geltend gemachten AnsprQche sind nach deut
          schem Rectit zu beurtellen. Nach Art. 8 Abs. I der Verordnung (EG)
          Nr. 864/2007 ubor das auf auBervertraglicha Schuldverhältnisse anzuwendende
          Recht (Rom-lI-VO) 1st auf auEervertragliche Schuidverhäitnisse aus elner Ver
          ieftung von Rechten des geistigen Elgentums das Recht des Staates anzu
          wendon, für den der Schulz beanspwcht wird. Nach diesem Recht sind das


                                                           Exhibit _.Page/
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 17 of 54 Page ID
                                      #:41366




                                            -7-


       Bestehen des Rechts, die Rechtsinhaberschaft des Verietzten, Inhalt und Urn-
       fang des Schutzes sowle der Tatbestand und die Rechisfalgen elner Reohtsver
       Ietzung zu beurteilen (st. Rspr.; vgl. Urtell yam 24. September 2014
       - I ZR 35111, GRUR 20151 264 Rn. 24 = WRP 2015, 347 HI Hotel II; Uftall vom
                                                                 -



       21. AprIl 2016- I ZR 34/14, GRUR 2016, 1048 Rn. 24 = WRP 2016. 1114- An
       Evening with Marlene Dietrich, Jeweils mwN). Da Gegenstand der Kiage aflein
       AnsprLlche wegen Verletzungen urheberrechdich geschOtzter Rechte an Foto
       grafien sind, fUr die die Kiägerin Im Inland urheberrechuichen Schutz bean
       sprucht, 1st Im Streltiali deutsches Urheberrecht anzuwenden.

14           iii. Das Bewfungsgerlcht hat Im Ergebnis zu Recht angenommen, dass
       die von der Kiãgerin gegen die Beklsgten erhobenen AnsprQche auf Unterlas
       sung der Offentlichen Wiedergabe der Fotograflen im inland ( 97 Abs. I Satz I
       UrhG), Auskunftserteliung ( 242 BGB) und Schadensarsatz ( 97 Abs. 2 UrhG)
       nlcht begrUndet sind und die Stufenklage daher lnsgesamt abzuwelsen let (vgl.
       dazu BGH, Urtel) yam 16. JunI 2010- VIII ZR 62109, NJW-RR 2011, 189 Rn. 24
       mwN). Durch die Anzeige der Potograflen als Vorsohaubilder auf threr Internet
       seite hat die Beklagte wader das Recht der öffentllchen Zugãngllchmachung im
       Sinne von § 19a UrhG (dazu B lii 3) oder cm unbenanntes Recht der öffenfli
       alien Wiedergabe Im Sinne von § 15 Abs. 2 UrhG (dazu B 1114) täterschaftlich
       verletzt noah hat sic für eine soiche Verletzung tinter dem Geslchtspunkt der
       Störerhaftung elnzustehen (dazu B III 5).

15            1. Das Beiufungsgerlcht 1st rechtslehleffrel devon ausgegangen, dass
       die Fotograflen jedenfalls ais Lichtblider lm Sinne von § 72 Urhe den Schut
       des Urheberrechtsgeseftes genle%en. Anknapfungspunkt für den urheberrecht
       lichen Schulz elnes Werks 1st die StaatsangehoHgkeit des Urhebers, nicht die
       Staatsangehörlgkeft desJenigen, der Nutzungsrechte von Ihm ableltet (vg!. BGH,
       Beschiuss yam 30. März 2000 I ZR 133197, GRUR 2000, 1020, 1022 La
                                       -
                                                                                 -



       Bahéme; KatzenbergerlMethger In SchdckerlLoewenhelm, Urheberrecht,
       5. Aufi., § 120 UrhG Rn. 10). Des Beruffingsgerlcht hat as als erwlesen erach
       tat, dass die Fotograflen von elnem tschechlschen Fotografen angefertlgt wor

                                                       Exhibit   ‘2-. ?agei%’
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 18 of 54 Page ID
                                      #:41367



                                              -8-


         don sind. Nach § 120 Abs. 2 Ni. 2 UrhG stehon Staatsangehãrlge elnes ends
         ren Mitglledstaates der Europaisohen Union 4eutschen Staatsangehörlgen
         gleich und genieften daher wie diese nach § 120 Abs. I Saft I UrhG den urhe
         berrechtiichen Schulz für ails Ihre Works, gieichvlei, ob und Wa die Werke er
          schienen sind. Die Besdmmung des § 120 UrhG 1st nach § 124 UrhG für den
          Schulz von Uchtblidem ( 72 UrhG) sinngema anzuwenden.

16              2. Das Berufungsgedcht hat ohne Rechtsfehier angenommen, dass die
          Kiãgerin ais inhaberin der aussohileBlichen urheberrechillehen Nulzungsrechte
          an den Aufnahmen barechtigt ist, urheberrechtiiche Ansprflche wegen elner
          Verietiung dieser Reobte geitend zu machen (vgi. BGH, Urteil vom 29. Apr11
          1999 I ZR 65/96, 8GHZ 141, 267, 272 f. Laras Tochter; Urtell yam
                -                                          -




          15. August 2013 I ZR 85/12, ZUM-RD 2013, 514 Rn. 23). Nach den Feststei
                           -




          lungen des Berufungsgeñchts hat der Fotograf tier Kiägerin die aussahileBil
          chen Nulzungsrechte an semen Auftiahmen für Deutschland eingeräumt. Die
          Berechtigung der Kiägerin zur GeItendmachung von AnsprQchen wegen elner
          Verlelzung dieser Rechte 1st nlcht dadurch enifallen, dass dor United States
          District Court mit Order vom 24. Febmar 2017 elnen Zwangsverwalter bestelit
          hat, der Ihre urheberrechtlichen AnsprQcho pfãnden und verwerten soil. Es 1st
          nicht ersichtllch, dass sich diese Order auf die hier in Redo stehenden urheber
          rechtllchen Ansprüche wegen amer Verletung von in Deutschland nach dept
          Urheberrechtsgeselz geschülzten Rechten an den Fotograflen bezieht (vgi.
          Rn. 12). Selbst wenn die streithefangenen Fordewngen durch den Zwangsver
          waiter gepfändet worden wären, hätte die Klägerin der damit verãnderten mate
          Helien Rechtsiage entsprochen, indem sie mit ihrem Hiifsantrag hinslchtllch der
          AnsprOche auf Auskunif und Zahiung Leistung an den Zwangsverwaiter ais
          Rechtsnachfolger veriangt hat (vgi. BGH, NJW 1988, 3206, 3207 mwN; 8GHZ
          114, 138, 141; 8GHZ 147,225, 229). Hinslchhich des Untehassungsanspruchs
          bedurfte es keiner Umsteiiung des Kiageantrags, well die Verurteliung zur Un
          terlassung schiechthin und nicht gegenuber elnem bestimmten Berechtigten zu
          erfoigen hat (BGH, Urteli vom 7. Mel 2013- X ZR 69/Il, BGHZ 197, 198 Rn. 55



                                                          EXhibit_PageJ
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 19 of 54 Page ID
                                      #:41368




                                              -9-


       -Frasverfahren). Leizilich kann offenbi&ben, wer zur Geltendmachung der An
       sprUche berechUgt 1st, da diese Anspdche ohnehin nicht bestehen.

17            3. Das BerufungsgeHcht hat im Ergebnis mit Recht angenommen, dass
       die Bekiagte nlcht in des ausschiieBIiche Recht zur offentilchen Zugäng
       Iichmachung der Lichtbilder ( 15 Abs. 2 Saft I und 2 Nr. 2, § 19a UrhG) em
       gegriffen hat.

18           a) Das Berufiingsgericht hat es im Ausgangspunkt für möglich gehaiten,
       dass die Bekiagle durch die Anzeige der Fotografien ais Vorachaubilder elne
       Handiung dat öffentiichen Zugänglichmaohung ala Täter oder Mlttäter vorge
       nommen babe. Es sel zwar davon auszugehen, dass die Vorschaubllder aus
       schileallob auf den Servem von Google gespeicheft selen und die Beklagte auf
       diese Daten keinen Zugriff habe. Dadurch, dass die Bekiagte die von Googie
       absprachegemäiL übersplelten Suchergebnlsse In lhren Intemetaufirift Integried
       und (auch) als aigenes Angebot präsentlert habe, könne ale aber eine elgene
       Tathandiung der öffenflichen Zugängllchmachung wegen Zuelgenmachens der
       von Googie geiiefeden Biiddatelen oder aufgwnd bewussten und gewoilten Zu
       sammenwirkens mit Googie begangen haben. Diese Beurteilung halt der recht
       lichen NachprQhing nlcht stand. Die Revislonserwidewng maclit zufreffend gel
       tend, dass auf der Grundiage der yarn Berufungsgericht getroffenen Feststel
       lungen   emöffentliches Zug&nglichmachen der Lichthiider durth die Beklagte
       von vornhereln ausacheldet.

19           b) Ems offentllche Zuganglichmachung im Slnne von § 19a UrhO erfor
       dad, dass Dritten dot Zugriff auf sin urheberrechtlich geschutztes Werk erofffiet
       wlrd, das slch In der Zughffssphäre des Vorhaltenden befindet (vgi. BGH, Urtell
       yam 29. April2010 I ZR 9108, BGHZ 185, 291 Rn. 19 Vorsohaublider I; Urteli
                              -
                                                               -


       yam 29. April 2010 -IZR 39108, GRUR 2011, 56 Rn.23 = WRP 2011, 88
       -Session-ID; Beschiuss vom 16. Mal 2013-i ZR 46/12, GRUR 2013, 818 Rn. 8
       = WRP 2013, 1047 Die Realität I; Urteli yam 9. JuN 2015-i ZR 46/12, GRUR
                                  -




       2016, 171 Rn. 13   =   WRP 2016, 224 Die Realität ii). Die Anzeige von Lichtbil
                                              -




                                                           Exhibit ?Page       Ia
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 20 of 54 Page ID
                                      #:41369



                                               -10-


         dern in der Trefferliste eIner Suchmaschlne stelit elne elgene Nutzungshand
         lung des äffenflichen Zugënglichmachens dar, wenn der Retreiber der Suchma
         schine die Lichtblider auf elnem elgenen Rechner und damit unabhängig von
                                                             -




         der ursprünglichen Quails vorhäit und auf diese Weiss die Kontrolie Ober ibm
                                    -




          Berelihaltung ausUbt (vgl. 8GHZ 185, 291 Rn. 20 Vorsahaubilder I). Die Var
                                                              -



          knüpfung sines wit elner fremden internetselte bereitgestellten Lichtbhds mit
          der aigenen Intemetselte mulleTs ames elektronlschen Verweises (Links) stelit
          dagegen keine urheberrechillohe Nutzungshandlung des öffehfllchen Zugäng
          llchmachens dar, well allein der Betrelber der fremden intemetselte, der des
          LIchtblld ins Internet gestellt und dadurch öffentllch zugängiich gemacht hat,
          darOber entscheidet, ob as der Offentuichkeit zugãngllch blolbt (vgl. BGH, Urtell
          von, 17. JuN 2003 I ZR 259100, BGHZ 156, 1, 14 Paperboy; BGH, GRUR
                               -                                  -




          2011, 56 Rn. 24 session-ID; GRUR 2013, 818 Rn. 24 Die Realltät I; GRUR
                           -                                           -




          2016,171 Rn. 14- Die ReaiItátII).

20               c) Das Bawfungsgeñcht hat angenommen, die auf der Webselte der Be
          kiagten ais Ergebnisse amer Blidersuche angezeigten Vorschaubllder selen
          ausschlieRllch auf den Servem von Googie gespeichert. Die Vermutung der
          Kiãgerln, die Bekiagte habe Zugriff auf die BilddateIen, sel mangeis tatsAchil
          char AnknOpfungspunkte als unsubstantilert anzusehen. Gegen diese Beurtel
          lung erhebt die Revision Reins RQgen. Danach hat die Beklagte den Tatbestand
          der offentllchen Zugângllchmachung nicht seibst verwfrkllcht Entgegen der An
          slcht des Bewfungsgerichts kommt es nicht derail an, ob die Bekiagte slob die
          von Googie geliefeden Vorschaubflder durch die Einbettung in ibm intemetseite
          zu elgen gemacht hat (vgi. BGH, GRUR 2016, 171 Rn. 27- Die Reailtat II). Der
          Tatbestand der öftentilchen Zugangllchmachung wird durch des tatsächiiche
          Vorhalten eines Lichtblids zum Abruf verwirkilcht und nicht dadurch, dass der
          für den lnternetauffdtt VerantworUlche den unzutreffenden Eindruck erweckt,
                                                      -                    -




          er halte des Llchtblld selbst zum Abruf bereit (vgi. BGH, GRUR 2013, 818 Rn. 9
          - Die Reailtät I).

21


                                                             Exhibit       age    ‘7
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 21 of 54 Page ID
                                      #:41370




                                             —11—


              ci) Entgegen der Anslcht des Benslungsgerlchts kann die Beklagte die
       Llohtbilder auch nlcht mlttaterschaffllch öffenlllch zugänglich gemacht haben,
       well sie mit Googie vereinbart hat dass ala die Vorachaublider von doren Ser
       vem abruft und auf Ihrer Websatte anzelgt. Em bewusstes und gewofltes Zu
       sammenwlrken mit elnem Dritten bel amer Urheberrechtsvedetzung setzt ama
       Kenntnis von konkret drahenden Rechtsverle&ungen voraus (vgl. BGH, Urteli
       ‘tom 12. JulI 2012-I ZR 18111, BGHZ 194, 339 Rn. 17-Atone In the Dark; Ur
       tell vom 15. August 2013- 1ZR 80112, GRUR 2013, 1030 Rn. 28 = WRP 2013,
       1348 FiIe-Hosllng-Dlenst; Urtell vom 5. Febmar 2015 I ZR 240/12, GRUR
             -                                                    -




       2015, 485 Rn. 37= WRP 2015, 577 Klnderhochstühle Im Internet Ill). Die Vor
                                             -


       schaublider werdon In elnem automatislerten Verfahren angezelgt, ohne dass
       sle der Beklagten vorher zur Kenntnis gelangen. Elne mittaterschaftiche Haf
       tung der Beklagten kann auth nlcht mit der vom BerufungsgeHtht gegebenen
       BegrUndung angenommen werden, wegen der Funkflonswetse der Google
       Suchmaschine lasse stch ama urheberrechtswidrige Anzeige von Fotograflen
       prinzipieil tile sicher ausschlleaen. Der Umstand, dass die Beklagte mit gele
       gentlichen Urhéberrechtsvedeungen bei der Pthsentation von Vorschaubll
       darn gerechnet haben mag, begrOndet kelne Kenntnls von elner urheber
       rechtswldrigen Anzelge gerade der In Rede stehenden Fotografien.

22            4. DIe Beklagte hat dutch dIe Anzeige der Fotograflen ale Vorschaubllder
       auf lhrer Intemetselte kein unbenanntes ausschileBiiches Recht der Klägerln
       zur öffentlichen Wledergabe der Llchthiider   ( 15   Abs. 2 UrhO) tterschaftlIch
       verieftt.

23           a) Gemaa   § 15 Abs. 2 Satz I
                                         UrhG hat der Urheber das ausschllel&iiche
       Recht, sein Werk in unkörpedicher Form öffentllch wlederzugeben (Recht der
       öffenUlchen Wiedergabe). Dieses Recht umfasat nach §15 Abs. 2 Satz 2 UrhO
       Insbesondere das Vorifags-, AuffQhrungs- und Vorfflhwngsrecht ( 19 UrhG),
       das Recht der affenfllchen Zuganglichmachung ( 19a UrhG), das Senderecht
       ( 20 UrhG), des Recht der Wiedergabe dutch BlId- oder Tonträger ( 21 UrhG)
       sowle das Recht der Wiedergabe von Funksendungen und von offenflicher Zu

                                                        Pxhibit   .?   Page/P
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 22 of 54 Page ID
                                      #:41371



                                             -12-


         gangllchmachung ( 22 UthG). Die Vorschrift dos § 15 Abs. 2 UrhG enthäit kei
         no abschileBende, sondem elne beispleihafle (jnsbesonder&) Aufzählung tier
         dam Urheber vorbehaitenen Verwertungsrechte t.rnd iässt deshaib die Anerken
          nung unbenannter Verwertungsrechte der öffentllchen Wiedergabe zu (vgl.
          BGHZ 156, 1, 13- Paperboy; BGH, GRUR 2016, 171 Rn. 16- DIe Reafltat Ii).

24              insofem 1st zu berUcicsichtgen, dass § 15 Abs. 2 UrhG die Besfimmung
          des Aft. 3 Abs. I der Richflinie 2001129/EG zur Harmonlsiewng besllmmter As
          pakte des Urheberrechts und der vewandten Schuftrachte In der informations
          geseilsohaft umsetzt, durch die das Recht tier bffentiichen Wiedergabe you
          ständig harmonisiert worden 1st (vgl. EuGH, Urteli yam 13. Februar 2014
          - C466/12, GRUR 2014, 360 Rn. 33 bus 41 = WRP 2014, 414 Svenssonl-




          Retriever Sverige). Em unbenanntes Recht der äffentllchen Wledergabe 1st da
          her in rlchtilnienkonformer Ausiegung van § 15 Abs. 2 UrhG anzunehmen, so-
          welt Art. 3 Abs. I der Richtilnle 2001/29/EG waitergehende Rechte als die In
          § 15 Abs. 2 Satz 2 UrhG benannten Rechte der öffentllchen Wiedergabe ge
          währt (vgl. BQH, GRUR 2016, 171 Rn. 17- Die Reaiitàt II; BGH, Besohiuss yam
          23. Februar 2017 I ZR 267/15, GRUR 2017, 514 Rn. 17 = WRP 2017, 569
                            -




          - Cordoba). Nach Art, 3 Abs. I der RichUinie 2001!291EG sehen die Mitgiled
          staten var, dass den Urhebern des ausschile(Mlche Recht zusteht, die draht
          gebundene odor dmhUose ãffenlllche Wiedergabe Ihrer Werke elnschlieBlioh
          tier offenfllchen Zugãngiiohmachung der Werke In der Weise, dass ste Mltgiie
          den der Offentllchkeit von Often und zu Zeiten Ihrer Wahi zugängilch sind, w
          erlauben odor zu verbieten.

25               b) Die hier in Rode stehende WI edergabe fäDt in den Mwendungsbe
          reich von Aft. 3 Abs. I tier Richtllnle 20011291EG.

26              aa) Des Recht air öffentiichen Wiedergabe im Sinne von Art. 3 Abs. I
          tier RIchtlInIe 2001129/ES umfasst nur die Wiedergabe an elne Offentiichkeit,
          die nicht an den, Oft anwesend 1st, an dem die Wiedergabe ihren Ursprung
          nimmt (vgi. Erwägungsgwnd 23 Sat 2 der RIchUlnie), Nlcht erfasst slnd dlrekte


                                                           Exhibit Page        /9’
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 23 of 54 Page ID
                                      #:41372




                                             -13-


       AuffQhwngen und Darbietungen von Werken vor elnor Offentflchkeit, die slch in
       unmiftelbarem körperlichon Kontakt mit der Person befindet, die dieses Work
       auffUhrt odor darbietet (EuGH, Urteli yam 4 Oktober 2011 C403108 und
                                                                       -




       C-29108, 51g. 2011, 1-09083 = GRUR 2012, 156 Rn. 200 bls 202 -Football
       Association Premier League und Murphy; Urteil vom 24. November 2011
       -C-283110, 51g. 2011, 1-12031 = GRUR mt 2012, 156 Rn. 35 f. UCMR         -



       ADNZIrkus Globus; BGH, GRUR 2017, 514 Rn. 19- Cordoba).

27           bb) Bol der vofliegend in Redo stehenden Anzeige tier Fotogmflen als
       Vorsohaubilder auf der Webseite der Beklagten hat kein unmiftelbarer korperii
       cher Kontakt zwischen den sin Work aufführondon odor darbietenden Personen
       .rnd elner durob diess Wiedergabe errelchten Offentllchkelt bestanden. Es hat
       daher sine Wiedergabe an ems Offentiichkeit vorgeiegen, die an dem Ort, an
       dem die Wiedergebo ihren Urspmng genommen hat, nlcht anwesend war.

28           c) Der Begriff der 0offentllchen WledergabW’ erfordert ems Indlviduelle
       Bourteilung. Er hat zwei Tatbestandsmerkmaie, namiich sine Handlung der
       Wiedergabe (dazu B iii 4 d) und die Offentilchkelt dieser Wiedergabe (dazu
       B iii 4 a). Ferner sind elne Reihe weiterer Kritorlon zu berOcksiobtigen, die un
       setbstãndlg und miteinander verflochten sind (dazu B iii 4fl. Da diese Kñterien
       Tm jewelilgen Elnzelfali In sehr unterschledlichom MaB vorliogen konnen, sind
       sTe einzeln und in Ihrem Zusammenwirken mit den andoren Kriterien anzuwen
       den (vgi. EuGH, Urtell von 8. September2016 -C-160115, GRUR 2016, 1152
       Rn. 32 bis 34 = WRP 2016, 1347 GS Media/Sanoma u.a.; Urteil von 26. April
                                         -



       2017 C-527115, GRUR 2017, 610 Rn. 28 bls 30 = WRP 2017, 677 StichUng
            -
                                                                            -



       BreinAWuilems; Urteil vom 14. JunI 2017 C-61 0115, GRUR 2017, 790 Rn. 23
                                                 -



       bls 25 = WRP 2017, 936- Stichting BremnIXS 4ALL). Bel der danach gebotenen
       individuellen Beuttellung des Streiffalis hat die Beklagte dumb die Anzelge der
       Fotograflen ais Vorscbaublider auf ihrar Intemetseite das ausschiIeIiIcho Recht
       zur offenUichen Wiedergabe nicht verletzt.




                                                          Eghibit__ZpageQD
      Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 24 of 54 Page ID
                                       #:41373



                                                  -14-


29                d) Die Bekiagte hat durch die veridoinerte Anzeige der Fotograflen auf ih
          rar intemetseite elne Handiung der Wiedergabe der Llchtbilder vorgenommen.

30              as) Der Begdff der Wiedergabe 1st im Bllck auf das Hauptzlel der Richtii
          nie 20011291EG, em hohes Schulznlveau für die Urheber slcherzustellen (vgl.
          ErwägungsgrQnde 4 und 9 der Richilinle), waft zu verstehen (vgl. Erwägungs
          grund 23 der Richilinie; EuGH, GRUR 2014, 360 Rn. 17 SvenssonIRetriever
                                                                       -




          SveHge; GRUR 2016, 1152 Rn. 29 GB Medla/Sanoma u.a.). Er erfasst jede
                                                  -




          Obertragung elnes geschQ&ten Werks unabhänglg yam elngssethen techni
          sohen Mittel oder Verfahren (vgl. EuGH, GRUR 2012, 156 Rn. 186 und 193
           Football Association Premier League und Murphy; EuGH, Urteli vom 27. Fe
           -




          bruar 2014 C-351/12, GRUR 2014, 473 Rn. 23 und 25 = WRP 2014, 418
                               -




           OSNLéebnO láznè; Urtell yam 31. Mai 2016 0-117115, GRUR 2016, 684
           -                                                  -



           Rn. 38 Robs Tralning/GEMA). Elne Wiedergabe seth voraus, dass der Nuizer
                           -




           In valor Kenntnls der Foigen comes Verhaitens also absicht]ich und gezielt
                                                              -                               -



           Dritten omen Zugang zum geschQthen Work versohaift, ohne dass as darauf
           ankommt, ob die Dritten den Zugang nuften (vgl. EuGH, GRUR 2014, 360
           Rn. 19 SvenssonlRetrlever Svarige; GRUR 2017,610 Rn. 36 Stichtlng Brain!
                           .                                                     -




           Wullems; GRUR 2017, 790 Rn. 31 Stlchtlng BreInIXS 4ALL). Eh solcher Zu
                                                  -




           gang wird geschaffen, wenn auf elner Intemetsefte ankllckbare Links zu go
           schüthen WoHcen boreitgestellt warden, die auf amer anderen frei zugängilchen
           Internetselte veröffentllcht sind (vgl. EuGH, GRUR 2014, 360 Rn. 18 und 20
           -$venssonlRetriever Sverige; GRUR 2017, 610 Rn. 37 Stichting BreinI
                                                                             -




               Wuliems; GRUR 2017, 790 Rn. 32- Stichting BreinIXS 4ALL).

 31                    bb) Nach dlesen KrIterlen 1st der von der Bekiagten zur Ve4Qgung     ge
               steilte elektronische Verweis auf den Blldersuchdienst Googie als Handlung   der
               Wiedergabe elnzustufen. Durch die Bereitstellung der Suchfunkflon hat die    Be
               klagta in voller Kenntnis der Folgen lhres Verhaltens also absichtllch und
                                                                   -                        go
               zielt  den Nutzern lhrer Intemetseite ermogiIcht, mithilfe der Eingabe von
                       -



               Suchbegriffen die auf den Seivern van Googie gespeicherten Vorschaublider
               aufzurufen (vgl. EuGH, GRUR 2017, 790 Rn, 36 -SilohUng Breln/XS 4ALL).


                                                                   Exhibit           Zpagf
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 25 of 54 Page ID
                                      #:41374




                                             -15-


       Dabel kommt es nicht darauf an. ob die Nufter diesen Zugang ffitsächiich ge
       nutzt haben (vgi. BGH, GRUR 2016, 171 Rn. 23 Die Roalität ii; GRUR 2017,
                                                          -



       514 Rn. 24- Cordoba).

32            cc) Die Revislonserwiderung macht ohne Erfoig geitend, die Bekiagte ba
       be den internetnutzern den Zugang spezieii zu den streitgegenstandiichen Fo
       tografien nicht bewusst und in volier Kenntnis lhres Verhaitens vermiftelt. STe
       habe [lire Suchmaske lediglich uber elnen aligemelnen Link mit der Suchma
       schine Googie verbunden, die lhrerseits in einem automatisch-technischen Pro
       zess sins Visizahi von Webselten OberprUft mid die aufgefundenen Fotograflen
       anhand von Suchbegriffen indexiert habe. Durch die Elngabe der indexierten
       Suchbegriffe auf der Webseite der Beklagten batten die internetnutzer die Var
       schaubilder ohna deren Kenntnls und Kontroila aufgewfen.

33            Nach der Rechtsprechung des GeHchtshofs der Europäischen Union go
        nOgt as für elne Handiung der Wiedergabe, doss der Nutzer Driuen wissentlich
        und willentlich erm6glicht, auf utheberrechtlloh geschQtzte Werke zuzugrelfen
        (vgi. EuGH, Urteil yam 15. Mârz 2012 C-162110, GRUR 2012, 597 Rn 31
                                                  -




        - Phonografic Performance; EuGH, GRUR 2017, 610 Rn. 41 Slichting Brain!
                                                                        -



        Wuiiems; GRUR 2017, 790 Rn. 36 Stichting BreinIXS 4ALL). Er muss keine
                                             -




        konkrete Kenntnis von den einzeinen zugängiich gomachten Werken besitzen
        (vgi. v. Ungem-Sternberg in SchrickerlLaewenh&m aaO § 15 UrhO Rn. 79;
       ders.,GRUR 2012, 576, 578; Ohly, GRUR 2016, 1155, 1156; Lelstner, ZUM
       2016, 980, 982; Neubauerisoppe, GRUR 2017, 615,616).

34             a) Die Wiedergabe der Fotograflen ais Vorschaubiider auf der internet
       sells der Beklagten 1st im Sinne von Art 3 Abs. I der Richtlinie 20011291EG of
       fentlich erfoigt.

35              aa) Oar Begriff der Offenthchkelt 1st nur be! eTher unbestlmmten Zahi pa
        tentielier Adressaten und recht vielen Personan arfQiit. Hinsichtilch des ietztge
       nannten Krlterlums 1st die kumuiative Wirkung zu beachten, die slob aus der
       Zugängiichmachung der Werke bei den potentielien Adressaten erg!bt. Daher

                                                              Exhibit__aPage    Q
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 26 of 54 Page ID
                                      #:41375



                                              -16-


         kommt es nicht nur darauf an, wie viola Personen gielchzeltig Zugang zu dem
         selben Werk haben, sondem auth, wie viele von ihnen nacheinander Zugang
         zu diesem Wark haben (vgl. EuGH, Urtoli vom 7. Dezember 2006 C-306!05,   -




         SIg. 2006, 1-11519 = GRUR 20D7, 225 Rn. 37 f. SGAEIRaIaeI; Urteil vom
                                                              -




         7. Marx 2013 C-607111, GRUR 2013, 500 Rn. 32 f. = WRP 2013, 618 -1W
                        -




         BroadcastingflVC; EuGH, GRUR 2014, 360 Rn. 21 Svensson/Retriever Svo
                                                                  -




          rige; GRUR 2016, 1152 Rn. 36 -GS Media/Sanoma u.a,; GRUR 2017, 610
          Rn. 44 Stichting BreiniWuiiems; GRUR 2017, 790 Rn. 41 SUohflng BreinIXS
                  -                                                       -




         4ALL).

36                bb) Die Beklagte varsohaffi amer unbestimmten und reoht groBen Zahi
          von Personen Zugang xii den Fotograflen. Die Liohtblider kännen durch aile
          Internetnufter, die die passenden Suchbegdffe in die Suchmaske auf der Web
          salts der Bekiagten aingeben, wahrgenommen werden. Die Revisionserwide
          rung macht vergeblich geitend, die Anzeige der Vorechaubilder bsmhe auf a!
          item individuellen Suohvorgang des jeweiligen Nufters. Entscheldend 1st, dass
          die Beklagte diesen Suohvorgang amer unbestlmmten Vieizahi von intometnut
          zern ermägiicht.

37                f) Geht der Tathandhung dar öffentlichen Wiedergabe sine öffentiiche
          Wledergabe voraus, so 1st für lhre Emnstufung als eriaubnispflichtige öffentIiche
          Wiedergabe” Un Sinne von Art. 3 Abs. I der Richtlinie 20011291EG erfordoriich,
          dass das gesohQtzte Werk unter Verwendung ames technisohen Verfahrens,
          das slob von dam bisher veiwendeten untersaheidet, oder ansonsten für em
                                                                          -             -



          neues Pubilkum wiedergegeben wird. Erfolgt die nachfoigende öffentiiche Wie
          dergabe nach elnem spezlflschen technischen Verfahren, das sich von demJe
          nigen der ursprOngilchen ôffenflichen Wledergabe untersoheidet, braucht nicht
          geprUft zu warden, ob das Work für em neues Publikum wiedergegeben wird; in
          einem soichen Fail bedarf die öffentiiche Wiedergabe ohne weiteres der Er
          iaubnis des Urheberrechtsinhabers (vgi. EuGH, GRUR 2007, 225 Rn. 40 f.
          -   SGAE/Rafael; GRUR 2012, 156 Rn. 197 Foothall Association Premier Lea
                                                      -




          gue und Murphy; GRUR 2013, 500 Rn. 39 und 24 bis 26 1W Broadcasting!-




                                                                      Exhibit         Page
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 27 of 54 Page ID
                                      #:41376




                                            -17-


       Wc; GRUR 2014, 360 Rn. 24    SvenssonlRetriever Sverige; EuGH, Urtell von
                                      -



       21. Oktober 2014 -C-348113, GRUR 2014, 1196 Rn. 14 = WRP 2014, 1441
       -BestWater IntemallonailMebes t.rnd Potech; EuGH, GRUR 2016, 1152 Rn. 37
       - GB MedialSanorna u.a.; GRUR 2017, 610 Rn. 33 Stichting BrelnIWuflerns;
                                                            -



        GRUR 2017, 790 Rn. 28- SUchting Brein/XS 4ALL).

38           Ba) Im Strelifall sind die Fotograflen nicht nach elnern technlschen Var
       fahren wiedergegeben worden, das slab von dernjenlgen tier ursprOnglichen
       Wiedergabe unterscheldet.

39             (1) Erfoigen die ursprUngliche und die nachfolgendeWiedergabe im In
       ternet, handelt as sich urn dasseibe technisehe Verfahren (vgi. EuGH, GRUR
       2014, 360 Rn. 24 SvenssonlRetriever Sverige; GRUR 2014, 1196 Rn. 15
                            -




       - BestWater International/Mebes und Potsch; GRUR 2016, 1152 Rn. 42 GS     -



       Medi&Sanorna u.a.).

40            (2) Bevor die Aufnahmen auf tier Webseite tier Bekiagten als Vorschau
       bilder angezeigt worden sind, waren sic im internetportal tier Kiagerin und auf
       den Internetselten 0www.rnrnmh.com.ar und ,www.kep.tar.hu” elngestellt und
       dart für elne unbesflmrnte Vieizahi van Nutzern elnsehbar. Auf den zuietzt go
       nannten internetselten skid ste von der Suchrnaschine Google aufgefunden, auf
       deren Seivern ais Vorsohaublider gespeichert, von dort irn Zuge von Suchvor
       gãngen abgerufen und ai.if tier Webseite tier Beklagten angezeigt worden. Die
       beanstandete 6ffentiiche Wiedergabe und die vorherigen ãffentlichen Wieder
       gaben skid darnit Jeweus irn Internet und daher nach demseiben technischen
       Verfahren erfoigt.

41           bb) Des Bewftingsgedcht hat in anderem Zusammenhang angenom
                                            -                               -



       men, die Bekiagte habe die Fotograflen nicht öffentiich wiedergegeben, wail sic
       diese keinem neuen Publikum zugänglich gernacht habe. Diese Beurteliung MIt
       der rechtiichen Nachprufung nfcht stand. Elne öffentiiche Wiedergabe der Foto
       graflen Im Sinne von Art. 3 Abs. I der RIchtllnie 20011291EG kann In Streitfati
       auf tier Grundiage der vom Berufungsgericht getroffenen Feststellungen nlcht

                                                                Exhibit   Q.._ Pagect
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 28 of 54 Page ID
                                      #:41377



                                               -18-


         mit der Begrundung vemeint werden, die Beklagte habe die Fotagraflen nlcht
         für sin neues Pubilkum wiedergegeben.

42             (1) Elne öffentllche Wiedergabe für sin neues Pubflkum setzt vamus,
         dass sie sian an em Publikum richtet, an des der inhaber des UrheberreGhts
         nicht dachte, als or die ursprQngiiche äffentliche Wiedergabe erlaubte (vgl.
         EuGH, GRUR 2014, 360 Rn. 24 Svensson/Retdever Sverige; GRUR 2014,
                                           -




         1196 Rn. 14 BestWater internationaUMobes und Potsch; GRUR 2016, 1152
                        -




          Rn. 37 CS Medla/Sanoma u.a.).
                -




43              Des kann der Fall seth, warm auf amer intemetselte ankiickbare Links zu
         urheberrechUtch geschüLten Werken gesetzt warden, die auf der anderen In
         ternetseits aufgwnd beschränkender MaBnahman nur elnem begrenzten Publi
          kum zugngllch sind. Ermägilcht der Link es den lntemetnutzem, die beschrãn
          kenden MaBnahmen zu umgehen, so sind diese Nutzer als neues Fubiikum
          anzusehen, das der Urheberrechtslnhaber nlcht erfassen wolite, ais or die ur
          sprOngiiche öffentiiche Wiedergabe eflaubto (vgi. EuGH, GRUR 2014, 360
          Rn. 31 SvenssonlRetrlever Sverlge; GRUR 2016, 1152 Rn. 50 CS Medial
                    -                                                      -



          Sanoma u.a.; GRUR 2017, 610 Rn. 49 Stichting Brein/Wuliems; vgi. auch
                                                      -




          BGH, GRUR 2011, 56 Rn. 27- SessIon-ID).

44               Etwas anderes gilt, wenn auf einer Webselte ankiickbare Links zu urhe
          berrechtlich geschOtzten Werken bereitgesteiit warden, die auf elner anderen
          Webselte mit Eriaubnls des Urheberrechisinhabers für ails lnternetnutzer frei
          zugängllch sind. In einem solohen Fail 1st devon auszugehen, dass der Rechts
          inhaber bel coiner Erlaubnis alle potenfleiien Besucher dieser Webselte und
          damit ails Internetnuizer var Augen hatte. Warden die dart eingesteiiten Werke
          den Nuizern ether anderen Webselte Qber elnen ankilckbaren Link zugängiich
          gethacht, sind diese Nutzer ais potentielie Adressaten der ursprQngUchen Wie
          dergabe und damit ais Mitglleder det Offentflohkelt anzusehen, die der Urheber
          rechtsinhaber erfassen woiite, als er dIe ursprOngliche Wiedergabe erlaubte.
          Ems soiche Wiedergabe erfoigt nicht gegenüber elnom neuen Pubilkum und


                                                               Exhibit   .     Page
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 29 of 54 Page ID
                                      #:41378




                                             -19-


       bedart daher nloht nach Art. 3 Abs. I der Rlchtllnle 200 11291EG der Erlaubnls
       des Urheberrechtslnhabers (vgl. EuGH, GRUR 2014, 360 Rn. 25 bis 28
       - SvenssoniRetriever Sverige; GRUR 2014, 1196 Rn. 15 f. BestWater intema
                                                                   -



       tlonallMebes und Potsob; GRUR 2016, 1152 Rn. 40 his 42- GS Medlalsanoma
       u.a.; GRUR 2017, 610 Rn. 48- Stlchting BreiniWuliems).

45            (2) Von diesen Grundsãizen 1st auch des Bemfungsgericht ausgegan
       gen. Es hat angenommen, da die Fotograflen auf den intemetselten
       Mwww.mmrnh.com.ar” und www.kep.tar.hu” frei auffindbar gewesen selen, liege
       elne rechtsverletzende Nutungshandlung der Bekiagten nur var, wenn die Klä
       germ die Fotograflen durch die Einsteilung in lhr intemetpodal lediglich elnem
       begrenzten Nufterkrels habe zugänglich machen wolien und die Aufnahmen
       von threm internetportai unter Verleizung von Nutzungsbeschrankungen der
       Rosucher ins froi zugüngilche internet gelangt solon. Fir diesen Umstand set
       die Kiägerin dariegungs- und beweisbeiastet, well die Wiedergabe fOr sin neucs
       Publikum am anspruchsbegründendes Tatbestandsmerkmal der offenUlchen
       Wiedergabe darsteile und es sich bet den Beschränkungen der Nuftungsmbg
       Lichkelt und den Bedingungen für die Nutiung des internetportais der Kiägerln
       urn interna handete, die ste anders ale die Bekiagte alma weiteres dariegen
                                    -                         -



       und beweisen kanne. Die Kiägerin labs zwar substantilert dargeiegt, dass die
       Fotograflen nur in dem für registrierte Nutzer zugüngiichen und passwortgesi
       dherten Bereich three IntemetangebDts ein9estellt gewesen seien und sb ihren
       Kunden des Recht zur Speichewng der Biiddateien auf den eigenen Rechnem,
       aber nidht zur Elneteilung in andere Internetseiten eingeraurnt habe. Em ant
       sprechender Beweis eel ihr aber nlcht geiungen. Nach darn Ergebnis der Be
       weisaufnahme bleibe die Mägiichkeit bestehen, dass die Biiddatelen mit Billi
       gung der Kiagerin ins fret zugthngiiche internet geiangt selen. Discs Beurteilung
       1st nlcht frei von Rechtsfehlern.

45           (3) Die Revision maclit ailerdings ohne Erfoig geitend, da die Beklagte
       die Suchffinktion abs Tell ihres Geschäfismodelis anbiete, sei ned der Recht
       sprechung des Gerlchtshofs der Europäischen Union zu varmuten, dass die als

                                                              Exhibit Page
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 30 of 54 Page ID
                                      #:41379



                                               -20-


         Vorschaubilder angezeigten Fotograflen auf den von der Suchmasohlne Google
         aufgefundenen intennetselten unbefugt veroffenflicht worden selen. Der Ge
         richtshof 1st fOr Hyperlinks, die in Gewunnerzleiungsabsicht zu anderen Websel
         ten mit unbofugt veroffentltchten Werken gesetzt worden slid, von omen wider-j
         leglichen Vermutung ausgegangen, class die Links in voller Kennthis einer feh
         lenden Eriaubnls der Urheberrechtslnhaber geset worden sind (vyl. EuGH,
         GRUR 2016, 1152 Rn. 44 bis 53 und 55 OS MedlafSanoma us.; GRUR 2017,
                                                   -




          610 Rn. 49 Stichting Breln*uiiems). Gegenstand der Vermutung 1st danach
                      -




          nicht des Fehien der Eriaubnis des Urheberrechtsinhabers, sondern die Kennt
          us des Nufters von der fehienden Erfaubnis des Rechisinhabers.

47              (4) Des Berufungsgericht 1st aber zu Unrecht davon ausgegangen, die
          Kiägerin treffe die Bewelsiast dafOr, class ale die Fotograflen ausschlleBiich In
          den passwortgeschUtzten Beretth ihros tntemetporta!s eingestellt haL Entgegen
          der Ansicht des Berufungsgeñchts trägt die BeMagte die Beweisiast daffir, dass
          die Bilder in den fret zugängllchen Bereich des Intemetponlais der Kiägerin em
          gesteilt waren. Danach kann auf der Gwndlage der vom BerufungsgeHcht ge
          froffenen Feststeiiungen nicht devon ausgegangen warden, dass die Klâgeñn
          die in Redo stehenden Fotograflen berelts alien intemetnutzem frel zugängiich
          gemacht und die Bekiagte die Lichtbitder auf Ihrer Webseite daher nicht für clii
          neues Pubiikum wiedergegoben hat.

48               Die Bestimmung des Art. 3 Abs. I der Richtiinie 2001129/EG sieht vat,
          class jede Handiung der affentlichen Wiedergabe eines Werks vain Urheber
          rechisinhaber eriaubt warden muss (vgi. EuGH, GRUR 2016, 1152 Rn.43 -GS
          Media/Sanoma u.a.; GRUR 2017, 610 Rn. 47          -   Stichtlng BreunlWubems). Die
           Kiägerun hat vorgetragen, die Bekiagte habe die Fotograflen ais Vorschaublider
           auf ihrer Intemetsaite veröffenflicht. Damit hat sb eine Handiung der óffentli
           chen Wiedergabe dargeiegt, die nath Art. 3 Abs. I der Richtilnbe 20011291EG
           der Eniaubnis der Kiâgerin ais aussohileBlich Nutzungsberechtigter bedurife.
           Die Beklagte hat eingewandt, ems Edaubnls den Kiägerln sei nicht erfordeHich
           gewesen, well diese die Fotograflen in Ihrem intemetportai bereits für aiie inter-


                                                                  Exhibit   tage     7
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 31 of 54 Page ID
                                      #:41380




                                            -21   -




       netnuer elnsehbar veröffentlicht habe und die Vorsohaublider deshaib nicht für
       em neues Publikum wiedergegeben wOrden. Für die tatsächiichen Vorausset
       zungen dieser rechtshlndemden Einwendung 1st nach aligemeinen Grundsët
       zen die Bektagte beweisbelastet (zu § 17 Abs. 2 UrhG vgl. 8GM, Ufteil vorn
       21. Marx 1985 I ZR 166)82, GRUR 1985, 924, 926 Schaliplattenlmport ii;
                       -                                        -



       Urtell vom 3. Marx 2005-1 ZR 133/02, GRUR 2005, 505, 506 = WRP 2005, 622
       -Atlanta; ni § 24 Abs. I MarkenG vgl. EuGH, Urteli yam 8. Apr11 2003
       -C-244100, 51g. 2003, 1-3051 = GRUR 2003, 512 Rn. 35 f. Van Doren u.aJ
                                                                        -



       Lifestyle [StUssy]; 8GM, Beschiuss yam 11. Mal 2000 I ZR 193197, GRUR
                                                                    -


       2000, 879, 880 = WRP 2000, 1280 stQssy; Urtefl vain 15. März 2012
                                                  -




       -I ZR 52/10, GRUR 2012,626 Rn. 26 und 30 = WRP 2012, 81 CONVERSE I). -




49            Elne andere Verteliung der Beweislast ergibt sich entgegen der Ansicht
       des BeMungsgerlchts nlcht daraus, dass as sich beT der Anmeldung Tm inter
       nelportai der Klãgerln und den elngedchteten Zugangsbeschränkungen urn Urn
       stfinde aus Threr Geschãftssphäre handelt. Hat die pflmär darlegungspfiichUge
       Paftel kelne nähere Kenntnls der mafLgebiichen Umstnde und keine Möglich
       kelt zur weiteren Sachverhaltsaufktãmng, während dem Prozessgegner nãhere
       Angaben dazu ohne weitares mägiich und zumuthar sind, so triM den Gegner
       zwar regeimë(3dg elne sekundâre Dariegungslast (vgi. BGH, Urt&I yam 19. Ok
       tober 2011 -i ZR 140/10, GRUR 2012, 602 Rn. 23 = WRP 2012, 721 -N/or
       schaubilderli; Ufteli vom 8. Januar 2014 I ZR 169/12, 8GHZ 200, 76 Rn. 17
                                                  -



       -BearShare). Kommt er selner sekundären Darlegungsiast nlcht nach, gilt der
       Vortrag der prlmâr darlegungsbelasteten Partei nach § 138 Abs. 3 ZPO als zu
       gestanden (vgi. BGH, Urtell yam 20. Oktober 2005 IX ZR 276/02, NJW-RR
                                                            -


       2006, 552 Rn. 11; BGH, GRUR 2012, 626 Rn. 28- CONVERSE I). Die sekun
       dare Darlegungslast fOhrt Jedoch nicht zu elner Umkehr der Beweislast (vgi.
       BGHZ 200, 76 Rn, 18 BearShare). Das Berufungsgerlcht ist zutreffend devon
                             -




       ausgegangen, dass die Kiägerln dle Elnrlchtung elnes passwortgesicherten Be
       relchs In lhrem Intemetportal und die Einsteilung der Fotograflen in diesen Be-
       reich substanifiert dargelegt hat. Ihr Vortrag genQgt daher den Anfordewngen


                                                            Exhibit 2. age2?’
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 32 of 54 Page ID
                                      #:41381



                                              -   22   -




         an ems sekundâre Dariegungslast. Dann aber bl&bt die Beklagte dafUr bowels
         belastet, doss die Uchthlider auph Ut feel zugängiichen Bereich der Internotselte
         der Klägerin elngestellt waren.

50               (5) Mit der van Bewfungsgerlcht gegebenen BegrOndung kann such
          nicht angenommen werden, die Beklagto hobo die Lichtblider auf Ihrer Websel
          to nlcht für sin neues Publikum wiedergegeben, well die Klâgerin den Nuizem
          Ihres lntemetportais das Recht zur Einsteiiung der Fotograflen in andere inter
          netseiten und so auth in dIe von der Suchmaschine Googie aufgefündenen
                     -




          Wobselten www.mmmh.com.ar und www.kep.tar.hu” elngerâumt babe. Ent
                                                                      -




          gegen der Anslcht des Berufungsgerlchts hat nlcht die KIAgefin zu bowelsen,
          dass sb Ibren Kunden keine Erlaubnls zur Einsteliung der Fotograflen Ins Inter
          net efteilt hat, sondem obflegt der Beklagten der Nachweis, dass die Kiagerin
          sine soiche Eriaubnls ertelit hat

51                Nach Art. 3 Abs. I der RlchtlInie 20011291E0 bedart Jade Handlung der
          äffentllchen Wledergabe elnos Works der Eriaubnis des Urheberrechisinhabers.
          Die Frogs, ob der Rechtsinhaber der öffentllchen Wiedergabe des geschOtzten
          Works zugestbmmt hat, betrifil em Tatbestandsmerkmal, dos elnen Eingrlff In
          seln AusschileRllchkeltsrecht verhlndert (vgl. BGHZ 185, 291 Rn. 26 Vor       -




          schaublider I; Fuchs/Farkas, ZUM 2016, 370, 372; Leistner in Schricker/Loe
          wenhelm aao § 97 UrhG Rn. 25; aA OLG MOnchen, WRP 2016, 1415 Rn. 26;
          vgl. auch RauerlEttlg, WRP 2016, 1319 Rn. 18). Wer elne Handiung der öffent
          lichen Wiedergabe vomimmt, hat daher darzulegen und erfbrdeHichenfafls zu
          bewelsen, dass diese Handiung durch elne vom Rechtsinhaber ertellte Erlaub
          nis gedeckt 1st (vgi. BGH, Urteli yam 27. September 1995 I ZR 215/93, BGHZ
                                                                          -



          131, 8, 14 Pauschaie Rechtselnraumung; Urteil yam 28. Oktober 2010
                         -




          -   I ZR 18/09, GRUR 2011, 714 Rn.29     =       WRP 2011, 913- Der Frosch mit der
          Masks; BGH, ZUM-RD 2013, 514 Rn. 24).

52              Die Beklagte hat ems Handlung der offenUichen Wiedergabe vorgenom
          men, indem sie Fotagraflen out Threr Webselte als Vorschaubllder angezeigt


                                                                      Exhibit _2rPage
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 33 of 54 Page ID
                                      #:41382




                                             -23-


       hat. Das Berufungsgedcht hat rechtsfehlerfrel angenommen, die Klägerln eel
       tier Behauptung tier Bekiagten, sb gestatte lhren Kunden, die aus darn pass
       wortgeschQ&ten Bereich hewntergeiadenen Fotograflen ins frel zugängiiche
       Internet einzustelien, substanUtert entgegengetreten. Unter diesen Umständen
       obiiegt der Beklagten tier Beweis für die behauptete Erlaubnis der Klägerin.
       Entgegen der Ansicht des Bewftrngsgerichts besteht kelne tatsächiiche Vermu
       tung, dass die Einsteiiung von urheberrechtilch geschüwen Werken auf fret
       zugangiichen Intemetselten vain Rechisinhaber edaubt warden 1st (vgl. BGH,
       GRUR 2012, 602 Rn. 22 Vorsobaublider ii).
                                 -




53             g) Die Annahme des Berufungsgerichft, die Beklagte habe das aus
       schileftilohe Recht tier Kiägerin zur öffentiichen Wiedergabe tier Llchtblidar
        nicht verletzt, stelit slob aber aus anderen GrOnden ale richtig dar ( 561 ZPO).
        Die Anzeige dor Vorachaubilder auf tier Intometselte tier Bekiagton 1st nlcht ale
       rechtsverietzend anzusehen, well für die Bekiagte nicht erkennbar war, dass die
       van tier Bildersuobmasohine Googie aufgefundenen Fotogmfien unbefugt im
       frai zugängllchen Internet veröffentiicht waren.

54           aa) Das Setzon von Hyperiinks auf elne Intemetseite mit geschuthan
        WarRen, die auf abner anderen intemetseite ohne Edaubnis des Urheberrechts
        inhabers fret zugängllch sind, steilt nur dann ekie offentIIohe Wiedergabe” Im
        Sinne von Art. 3 Abs. I der RIchtIlnie 20011291EG dar, wenn der Verlinkende
        die Reohtswidrlgkelt der Veröffentiichung der Werke auf der anderen Internet
        selte kannte oder vemunftlgerwelse kennen konnte (vgi. EuGH, GRUR 2016,
        1152 Rn. 49 trnd 55- GS Media/Sanoma u.a.; GRUR 2017, 610 Rn. 49- Stlch
        ting Breinwuliems).

55            Diese Elnschrânkung bewht auf tier Erwãgung, dass des Internet für die
        durch Art. 11 tier EU-Grundrechtecharta gewahdeistete Meinungs- und Informa
        tlonsfrelheit von besonderer Bedeutung 1st und Hypedinks zum guten FunkU
        onleren des intemets und aiim Melnungs- jind Informationsaustausch In diesem
        Netz beitragen, das sich durch die Verft)gbarkelt Immenser Informatlonsmengen

                                                                  Exhibit ...rPage    ‘32,
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 34 of 54 Page ID
                                      #:41383



                                             -24-


         auszeiohnet (vgl. EuGH, GRUR 2016. 1152 Rn. 45 CS Medi&Sanoma u.a.).
                                                             -



         Die unOborsehbare inforrnaflonsfthie im Internet kännte ohne den Einsatz von
         Hyperlinks zur VerknQpfung der don zugänglichen Dateien nicht ersohiossen
         werden (vgl. BGH, Urteil yam 18. JunI 2015 -1ZR74/14, BGHZ 206, 103
         Rn. 24 f. Haftung für Hyperlink). lnsbesondere für Elnzeipersonen, die Unks
                   -



         auf fret zugängtlche andere Webselten setzen walien, kann as schwierig soin zu
         UberprOfen, ob die auf den anderen Webselten eingesteIlten Works mit Zu
         stimmung der Urheberrechtsinhaber im Internet veröffentflcht sind (vgl. EuGH,
          GRUR 2016, 1152 Rn. 46 Cs Media/Sanoma u.a.). Die Funktlonalität des in
                                    -




          temets wOrde unangemessen beeinträohtigt, wenn die lnternetnutzer Hypedinks
          zu auf anderen Webseiten frel zugänglichen Werken zögerilcher satzten, well
          sle sloh dam Risiko elner Kiage wagon amer Urheberrechtsvarieftung ausge
          setzt sähen (vgi. Schlussanträge des Generalanwalts Wathelet vom 7. April
          2016- C-I 60/15, jurls Rn. 77 f. CS Medi&Sanoma u.a). im Buck derail 1st die
                                        -




          Bersitsteiiung ames Hyperlinks nur dann ais offentiiche Wiedergabe” im Sinne
          von Art. 3 Abs. I der Richflinlo 2001/29/ES anzusehen, wenn der Betreffende
          wussto odor hale wissen mOssen, dass der von Him gesetzte Link Zugang zu
          einem unbefugt in, Internet verãffenlllchten Work schafl etwa well or yam Ur
          heberrechtslnhaber zuvor darauf hingawlesen wurde (vgl. EuGH, GRUR 2016,
          1152 Rn.49 -OS Medla/Sanoma u.a.; GRUR 2017, 610 Rn.49 -Sttchtlng
          Brelnmullems).

56                Die vorgenannten Eiwägungen gelten in besondorem MaZe für Hyper
          links, die wie Im Streitfail tier von der Bekiagton gesetzte Link den Internet
                       -                                                   -




          nuem Zugang zu Suchmaschinen versehaffen. Suchmaschinen leisten ais
          HIifsmiftel zum Auffinden von inhaiten im Internet elnen wesentlichen Beitrag
          air informadonsverrniffiung. Sle gewilhrlelsten Im interesso der lnformauonsge
          seiischaft die Funkflonsfählgkeit des Intemets. Ohne die inanspwchnahme von
          Suchdiensten ware die sinnvolie Nutting der unubsrsehbaren lnformatlonsfflhie
          im Internet praktisoh ausgeschiossen (vgl. 8GHZ 156, 1, 18 f. Paperboy). Des
                                                                       -




                                                                 Exhibit mage3       /
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 35 of 54 Page ID
                                      #:41384




                                             -25-


       gilt nicht nur für die Suche nach Texten, sondern auth für die Suche nach Bit
       darn (vgl. v. Ungern-Sternberg, GRUR 2009, 369, 372).

57            bb) Nach diesen MaBstäben steilt die Anzeige der Vorsthaubllder auf der
       internotseite dar Bekiagten keino die ausschlie!iTchen Nutzungsrechte der KIâ
       germ verletzende Øffentilche Wiedergabe Tm 51mw von Art. 3 Abs. I der Richtii
       nb 20011291EG dar. Die Bekiagte musste nicht vemOnifigerweise damit rech
       nen, dass die Fotografien in die von der Suchmaschlna Googie aufgefundenen
       Webselten unbefugt elngesteilt worden waren.

58           (1) Die Revision macht erloiglos geltend, nach der Rechtsprechung des
       Gerlchtshofs der Europãischen Union sei zu vermuten, dass die Beklagte die
       von tier Suchmaschine Googie aufgefundenen Vorschaublider auf Hirer Web
       seite in Kenntnis ihrer unbefugten Veröffentiichung im frei zugänglichen Internet
       wiedergegeben babe.

59           (2) Dot Gorichtshof der Europäischen UnIon 1st bel nit Gewlnnenie
       iungsabsicht gesetzten Hyperlinks auf bestirnmte andere intemetseiten, in die
       urheberrechUich geschützte Werke rechtswldrlg aingesteilt sind, van amer wi
       derlegiichen Vermutung ausgegangen, dass die Hyperiinks In volier Kenntnis
       der fehienden Eriaubnis des Urheberrechtslnhabers air Veroffentlichung der
       geschützten Werke Im Internet gesetzt worden skid. Diese Bewertuny beruht
       auf der Annahme, dass von demjenlgen, der Hyperllnks mit Gewlnn
       erzieiungsabsicht se&t, eiwartet warden kann, dass or vor der öffntlichen Wie
       dergabe die erlorderlichen Nachprufungen vomimmt, urn sich zu vergewissem,
       dass die betreffenden Werke auf den anderen internetseiten nicht unbefugt var
       öffenthcht warden skid (vgi. EuGH, GRUR 2016, 1152 Rn. 51 -Os MedialSa
       noma u.a.; GRUR 2017, 610 Rn, 49 SUchflng BrelnlWulierns). Des 9Ut auch,
                                             -



       wenn der Verllnkende nicht gerade durch die Linkselzung auf die fraglichen
       Werke, sondern mit coiner Internetseite insgesamt Gewinn etwa in Form von
                                                                     -


       Werbeeinnahmen erzielen wIll (vgi. EuGH, GRUR 2017, 790 Rn. 46- Stichtlng
                         -




       BreInIXS 4ALL; LG Hamburg, GRUR-RR 2017, 216 Rn. 26; Volkmann, CR


                                                            Exhibi
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 36 of 54 Page ID
                                      #:41385




                                                -26-


          2017, 36, 38; aA Frickelserecke, NP 2017, 25, 26 f.; NeubsuerlSoppe, GRUR
          2017, 615, 616; v. Ungern-Stemberg in SchrlckerlLoewenholm eec § 15 UrhG
          Rn. 106).

60              (3) Die vorn Geflchtshof der Europãischen Union herangezogene Vermu
          tung greift hal der gebotenen IndMdueilen Beurteliung (vgl. EuGH, GRUR 2016,
          1152 Rn.47 -GS MediWSanoma u.a.; GRUR 2017, 610 Rn.28 -Stichflng
                                                       -
          Brelnmullems; GRUR 2017, 790 Rn. 23 Stiobting BreinIXS 4ALL) tinter Be
          rücksichtigung der besonderen Bedeutung von Suchmaschinen für die Informa
          tlonsvarmittlung Im Internet und darnit die Funktionsfähigkeit des internets nicht
          für Hyperlinks am, die von elner mit Gowlnnerzielungsabsicht bofflebenon Inter
          netselte zu elner Suchmaschlne gesetzt warden. yam Anbleter amer Suchma
          schine kann vemUnfflgerweisa nlcht erwartet warden, dass er sich vergewissert,.
          ob die von den Suchprogrammen aufgefundenen Abblidungen von Werken
          odor Lichtblidem rechtmãiLig ins Internet elngesteiit worden slrìd, bevor er these
          Abbildungen als Vorschaubiider wiederglbt. Für omen Internetanbieter wie die
          Boklagte, der den Besuchem seiner Webselte die Suchfunktion im Wege amos
          Links auf dIe Sewer dos Suchmaschlnenbefreibers zur VerfUgung stelit, gilt
          nichts anderos.

61              Emner Pflicht des Anbieters amer Suchfunkfion, Nachftrschungen air
          RechtmäBigkelt der Veröffenllichung dor von Suchmaschinon aulgofundenen
          Abblidungen anzusteilen, stehen Aufgabe und Funkfionsweise der Suchma
          schinen entgegen. Der Zugriff amer Suchmaschmne auf andere Intemotseiten
                                            -
          orfolgt nicht in der Welse, dass wie In den vom Gerlchtshof der EuropaIschen
          Union entschiedenen Fallen   absichflich und gezielt einzelne Hyperlinks auf
                                        -



          bestimmte andere Intemetselten gesetzt warden. Suchmaschmnen durchsuchen
          des frel zugêngllche internet In einem automaflslerten Verfahren tinter Flnsatz
          von Computerprogrammen, wobol ale nicht danach unterscheiden können, oh
          der aufgefundene Inhait vonemnorn Berechtlgten oder einem Nlchtberechtlgten
          ins Internet eingesteilt worden 1st (vgi. BGH, GRUR 2012, 602 Rn. 28        - Vor
          schaubilder II). Eine wideriegiicho) Vermutung, dass der Betreibor elnes Such-

                                                                  Exhibit   •   Pages
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 37 of 54 Page ID
                                      #:41386




                                            -27-


       dienstes Kenntnls von tier Rechtswldrlgkelt der Veröffentlichung der aufgefun
       denen Werke hat, wUrde dazu fflhren, dass ihm elne ailgemelne Pflicht ±ur ICon
       trolle ‘tier durch die Suchmasohlne indexierten Inhaito auferiegt wOrde (vgi.
       Schiussanträge des Genemlanwaits Szpunar yam 8. Febwar 2017 Cr610115,
                                                                           -




       luris Rn. 52 SUchung BrelnIXS 4ALL).
                   -




62            Elne aligemelne Kontitiipflicht ware im Slick auf die Aufgabo von Inter
       netsuchmaschinen unangemessen. Wagon lhror essentlellen Bidoutung für die
       Nutxung des Intemets dOrfen kelne Prufptlichten statuleft werden, die den Be
       trieb von Suchmaschlnen gefãhrden odor unverhãitnismäBlg erschweren (vgl.
       BGHZ 194, 339 Rn. 28- Alone in the Dark; BGHZ 206, 103 Rn. 27- Haftung für
       Hyperlinks). Die Annahme amer praktlsch kaum zu bewerkstellrgenden all
                                        -                                        -



       gemeinen Konkoiipfilcht wOrde die Ezdstenz von Suchmaschinen In Frage steP-
       len, well aich die Befreiber dam unQbersehbaron RisIko amer Inanspwchnahme
       durch eine VielzahI von Urheberrechtsinhabem ausgesetzt sâhen (vgi. Volk
       mann, CR 2017, 36, 41). Qas wOrde dern Ziel der Richtimnle 2001/29/EQ zu
       widedaufen, die Entwicklung tier Informallonsgesellschaft zu fördem (vgl. Erwä
       gungsgwnd 2 tier Richflinle).

63            im Slick darauf kann die Kenntnls des Anbieters amer Suchfunktion, class
       die von der Suchmaschlne aulgeftindenen inhaite unbeftigt Ins Internet elnge
       stout worden sind, nicht vermutet warden, auch wenn des Angebot mit Gewinn
       erzlelungsabsicht erfolgt (vgl, auch JanllLeenen, NJW 2016, 3135, 3137; Leist
       ner, ZUM 2016, 980, 983; Ohiy, GRUR 2016, 1155, 1157; Rauer/Ettig, WRP
       2016, 1319 Rn. 24; Vaikmann, CR 2017, 36, 41). Vielmehr muss positlv festge
       stout werden, dass der Anbleter tier Suchftinktlon von der fehienden Eriaubnls
       des Rechtsinhabers zur Veroffenflichung tier Werko wusste odor hätte wissen
       mOssen (vgi. EuGH, GRUR 2017,790’ Rn. 45- Stichtlng BrelnIXS 4ALL und die
       Schlussanträge des Generalanwalts Szpunar yam 8. Februar 2017 C-610/15,
                                                                          -



       Juris Rn. 52 Sflchtlng BreiniXS 4ALL).
                   -




64

                                                                Exhibit ..?i Pag’5Y
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 38 of 54 Page ID
                                      #:41387



                                              -28-


                 (4) Des Berufungsgericht 1st devon ausgegangen, es könne nicht festge
         stelit werden, dass die Beklagte be) der Wiedergabe der Fotogmflen ais Vor
         schaubilder auf ihrer Intemetseite am 9. und 11. Juni 2009 wusste oder hãtte
         wissen müssen, dass diese rechtswldrig ins frel zugängllche Internet eingestellt
         worden waren. Diese Beurteiking halt den Angdffen der Revision stand.

65               Die Revision macht erfolgios geitend, die Kigerin habe bereits Ende
          2008 die US-amerlkanlsche Muttergesellachaft der Beklagten In mehreren
          DMCA-Complaints darOber Informiert1 dass die Fotografien unter Veriethrng ii,
          rer ausschlIeBiichen Nu&ungsrechte ale Vorechaubilder angezeigt worden sal
          en. Des Berufungsgerlcht hat as nlcht sic beiegt angesehen, dass die DMCA
          Complaints die hier in Rede stehenden Lichtbllder betrafen und sich such auf
          ihre öffentiiche Wiedergabe in Deutsohiand bezogen. Zudem konne aus den ge
          selischaftsrechflichen Verknüpfungen nicht ohne welteres geachiossen warden,
          dass such die Bekiagte Qber die in den DMCA-Complaints mitgeteiiten Inforrna
          tionen verfOgt habe. Soweit die Revision dies anders sleht, ersetzt sle die tat
          richterilche Beurteliung durch ihre elgene Elnschãtzung, ohne amen Rechtsfeh
          ler des Berufungsgerichts auftuzeigen.

66             DIe Revision führt vergeblich an, die Rechtswidrigkeit der VerofIntil
          chungen eel daran ersichtilch gewesen, dass die Fotografien nach dam von der
          Klügerin gehaltenen Vortrag mit Copyright-Vermerken versahen gewesen sei
          en. Es kann offenbielben, ob in ainem solchen Vermerk em wirkeamer Hinweis
          darauf gesehen werden kann, dass der Rechftlnhaber seine Zustimmung zur
          äffenflichen Wiedergabe der Fotografie auf die öffenfiiche Wiedergabe auf die
          ser internetseite beschrãnkt (BGH, GRUR 2016, 171 Rn. 35 Die Reaiität ii).
                                                                        -




          Etwaige Copyright-Vermerke waren für die Beklagte nicht erkennbar, well die
          Suche, der Abruf und die Anzelge der Vorschaubiider in einern automatisierten
          Verfahren erfoigt sind.

67              (5) Danach hat die Bekiagte erst durch die Abmahnung vom 16. Juni
          2009 erfahren, thee die Fotograflen ohne Eflaubnls der Klãgerin in frel zugãng


                                                                 Exhibit_Page       3
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 39 of 54 Page ID
                                      #:41388




       lichen Internet veröffentllcht waren. Hat der Nutzer Kenntnis davon erlangt,
       dass die affentliche Wiedergabe der geschülzten Werke tinter Verletzung von
       Urheberrechten erfoigt let, und arbeltet er nach Erlangung dieser Kenntnls nlcht
       redlich darauf hin, den rechtswldrigen Zustand abzustellen, kann sam Varhaiten
       so verstanden warden, dass or die Fortsatung der widerrachtlichen Zugäng
       iichmachung blliigt, und ais offentliche Wiedargabe in Kenntnls tier fehienden
       Edaubnls des Ljrheberrechtslnhabers angesehen warden (vgi. Schiussanfrage
       des Generalanwalts Szpunar vom B. Febmar 2017 C-610115, June Rn. 51
                                                             -




       - SflchUng BreInIXS 4ALL). Von einem soichen Verhaiten der Beklagten kann
       auf tier Grundiage tier vom Berufungsgedcht gefroffenen Feststeilungen nlcht
       ausgegangen warden.

68           Das Berufiingsgarlcht hat angenommen, dar Bekiagten salon PrOf- odor
       Oberwachungspflichten zur Verhinderung amer orneuten Anzeige der Fotogra
       fan auf ihrer Internetseite nlcht zumutbar. Durch die Sperrung der KOnsilerna
       men tier abgeblldeten Models ais Suchbegrlffe hëtten die Llchtbilder nur in sehr
       geringem MaIL herausgefiltert warden können. Sowelt die KIägerln den Elnsatz
       amer Sliderkennungssoftware für angezeigt haite, habe sle nicht hinreichend
       dargelegt, thee elne soiche Software mit amer gewissen VerIssITchkoit be
       sflmmte Bilddatelen erkennen sowie In funkfionstQchllger Welse In den Ablauf
       tier Suchvorgânge und deren Anbindung an das Internetangebot der Beklagten
       Integrieft werden konnte. Diese Beurtellung hAlt tier rechtllchen NachprQfung Tm
       Ergebnis stand.

69           Soweit das Berufungsgericht elne Pflicht der Beklagten zur Sperrung von
       Suchbegrlffen verneint hat, well dadurch die Anzelge der fmgllchen Bilddateien
       nlcht verlassilch verhindert warden könne, 1st dlese Annahme nicht frel von
       Rechtsfehiem. DIe Elgnung elnes Wortfllters für die Erkennung von Urheber
       rechtsvedetungen wird nlcht dadurch beseltigi, dass damlt Vedelzungshand
       iungen nicht vollstandlg enfasst warden können (vgl. 8GHZ 194, 339 Rn. 35
       -   Alone In the Dark; BGH, ZUM-RD 2013, 514 Rn. 61). Die Beklagte hat Jedoch


                                                             Rxhibit ‘Page       3c
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 40 of 54 Page ID
                                      #:41389



                                                -30-


          einen Wonfllter In der Weise eingesetzt, doss sb die Pseudonyme der auf don
          Lichtblldem angezelgien Models als Suchbegdffe gesperft hat.

70              Die Revision macht erfoigios geltend, dos Berufungsgericht habe die An
          fordemngen an elnen sohiOssigen Sachvortrag der Klägedn zum Einsatz ether
          Blidflltersoftware überspannt. Bei dor Zumutbarkeit von Oberwachungsmaanah
          men des Betrelbers elner interneLplattform handelt es sich urn elne anspmchs
          begründende Vomusse&ung, deren tatsächliche Gwndlage regelmäBfg dor
          Anspwchsteiber darzuiegen hat (vgi. BGH, Ufteil vom 26. November 2015
          -I ZR 174/14, BGHZ 208, 82 Rn. 40- Störerhaftung des Access-Providers). Die
          Bekiagte hat eingewandt, sie könne eIne Begrenzting der an9ezelgten Lichthil
          der nur insoweit bewirken, ais sie besflmmte Suobbegriffe sperm und dadurch
          verhindere, dass die Anfrage an die Suchmaschlne Googie weltergeleltet war
          de. Atif die technischen Abläufe der Crawiersuche, die vom Suchdienst Google
          technisch genederten Ergebnisse, die indexierung der Inhalte und die nlcht-




          bUd-, sandem textgesteuerten   Biidorsuchprozesse seibst könne sle keinen
                                           -



          Einfluss nehmen. Unter diesen UmstAnden hãfte os nâhemr Dariegungen der
          Klägefln bedurif, In weicher Weise die Bekiagte durch den Einsaft elner Blider
          kennungssoftware den Zugriff out besflmmte auf den Servem von Googie ge
          speicherte Vorschaubilder hätte unterbinden können. Doss die von der Klâgerin
          angefuhrte Biiderkennungssoftware auf diese technischen Gegabenheiten zu
          geschnitten 1st, 1st nicht ersichilich und macht ouch die Revision nicht geltend.

71               im Ubrigen hat dos Bewfungsgertcht angenommen, die Klägerln hobo
          nicht bewbesen, doss nach der inkennthissetzung der Bekiagten von der uner
          laubten EinsteIiung der Fotograflen Ins frel zugängltche internet die Llchthiider
          emeut mithilfe der van dieser angebotenen Suchftnkflon angezeigt worden
          sind. Die von der Kiägedn vorgeiegten internetausdrucke vom 16. und 21. JuN
              2010 und vom 7. September 2015 HeRon wegen der geringen GroBe der ge
              zeigten Vorachaubilder und der abweichenden Biidausschnitte keine veriässfl
              che Beurteliung  doss es sich um dieseiben Fotografien handeite. Be) den in
                                zu,


              den Screenshots vom 7. September 2015 gezelgten Blidausschnitten kanne


                                                                 Exhibit _Page          37
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 41 of 54 Page ID
                                      #:41390




                                           -31-


       zudem nicht davon ausgegangen werden, dass sTe unter Zuhiifenahrne der von
       der Bekiagten angebotenen Suchfunktion ermifteit worden selen. Gegen diese
       tatrichteriiche Beurteliung hat die Revision keine RUgen erhoben.

72            5. Die Revision wendet slab erfoigios gegen die Annahme des Bern
       fungsgerichts, die Beklagte hafte nicht als StOrer für Verietzungen der aus
       schileBlichen Nutzungsrechte der Klügerin, die Drib durch die Elnsteliung dar
       Fotograflen Ins frel zugängllche Internet begangen haben mOgen.

73            a) Durch die Wendung HOffentlich zugãnglich machen zu lessen” Tm Un
       terlassungsantrag kommt entgegen der Ansicht des Beruffingsgeriohts hinral
       chend zum Ausdruck, dass die Kiâgedn die Bekiagte auth eTa Storer in An
       spruch nimmt (vgl. BGH, GRUR 2013, 1030 Rn. 20 FUe-Hosting-Dienst). Das
                                                           -




       Berufungsgerlcht hat jedoch mit Recht angenommen, dass die Voraussetzun
       gen für elne StOrerhaftung der Beklagten nicht vorliegen.

74            b) Als StOrer kann bel der Verietzung absoluter Rechte in Anspwch ge
        nommen werden, war ohne Tãter oder Teiinehmer zu sein in irgendeiner
                              -                                      -




        Weise wlilentiich und adäquat-kausai zur Verietzung des geschUtzten Rechts
        guts beitragt. Al $ Baitrag kann auch die UnterstOtzung oder Ausnutzung der
        Handiung elnes elgenverantwcrtflch handeinden Britten genOgen, sofern der in
        Anspruch Genommene die rechtIiche und tatsachliahe Magiiohkeit zur Verhin
        derung dieser Handiung hatte. Da die StOrerhaftung nicht Dber Gebühr auf Drit
        te erstreckt warden darf, die wader ais Täter noah ais Teiinehmer für die be
        gangena Urheberrechtsverietzung in Anspwch genommen warden konnen,
        setzt die Haftung des StOrers nach der Reohtsprechung des Senats die Vedet
        zung von PrOf- odor Ubarwachungspflichten voraus. Deren Umfang bestimmt
        sich danach, ob und inwieweit dam als Storer in Anspruch Genommenen nach
        den Umstanden des Einzeifaiis ama PrOfung odor Oberwachung zur Verhinde
        rung von Verie&ungshandiungen Drifter zuzumuten 1st, Das rlchtet sich nach
        den Jeweiligen Umständen des Emnzelfalis unter Beriicksichtlgung der Funktion
        und Aufgabensteilung des ais Storer in Anspwch Genommenen sowie mit Buck


                                                               Exhibit’2— Page’s
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 42 of 54 Page ID
                                      #:41391



                                                      -32-


          auf die Eigenverantwartung desjenigen. Or die rechtswiddge Beeintrachllgung
          selbst unmlttelbar vorgenommen hat (vgl. BGHZ 200, 76 Rn. 22 BoarShare;
                                                                               -




          BGH, GRUR 2015, 485 Rn. 49 f. Klnderhochst0hie im internet ill; BGH, Urteli
                                              -




          vom 24. November 2016 I ZR 220/15, GRUR 2017, 617 Rn. 11 = WRP 2017,
                                      -




          705 WLAN-Schlücsei).
                 -




75               ci) Das Berufungsgerlcht hat zutreffend angenommon, dass die Beklagte
          nicht ale Storer haftet, well sb keine Prüf- odor Uberwachungspflichten verleth
          hat.

76              aa) Die Bekiagte tral Im BUck auf elne StOrerhafiung kelne aflgemelne
          -praktIsch nlcht umzusetende Oberwachungspfllcht, well die angebotene
                                             -



          Suchfunktion auf vielfältige Webse ohne elne Verbeftung von Urhoberreobten
          nutzbar 1st und die Beklagte nlcht durch elgene MaRnahmen die Gefahr elner
          rechtsvede&enden Nuftung durch andere lnternetnutzer gefOrdert hat (vgi.
          Rn. 60 bis 63; vgi. ferner 9GHZ 194, 339 Rn. 22 und 28 -Alone In the Dark;
          BGH, GRUR 2013, 1030 Rn. 31 FlIe-Hostlng-Dienst; BGHZ 208, 82 Rn. 27
                                                  -



          - Storerhaftung des Access-Providers). Eine Prilfpfllcht der Beklagten konnte
          deshaib erst aus Anlass der Abmahnung vom 16. JunI 2009 entstehen, mit Or
          sb davon In Kenntnls gesett worden let, class die VerOffentllchung der Fo
          tograflen Irn frel zugängilchen Internet die ausschileBlibhen Nutzungsrechte der
          Klãgerln vorletzt (vgl. 9GHZ 185, 291 Rn. 39 Vorschaubflder I).
                                                             -




77               bb) Das Bemfungsgerlcht hat zu Recht angenommen, dass die Beklagte
          ihre durch die Abmahnung ausgeiöste PrOfpfllcht nichi verleftt hat. Es 1st
          rechtsfehlerfrei davon ausgegangen, dass die Beklagte able Air technlsch zu
          mutbaren MaBnahmen ergriffen hat, urn elne emeute Anzelge der Fotograflen
          als Vorsohaubllder auf Ihrer Intemetseite zu unterbinden, und nach Or Abmah
          nung die Fotograflen nicht mehr Ober die vdn Or Beklagten angebotene Such
          ftnktion wbedergegeben worden slnd (vgi. Rn. 67 bls 71).

78                   C. Em Vorabentscheidungsersuchen an den Gerichtshof der Europäl
              schen Union nach Art. 267 Abs. 3 AEUV 1st nicht veranlassi im Strelifall stout

                                                                     Exhibit       .Page   7
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 43 of 54 Page ID
                                 #:41392




                                      -33-

 sich keine entscheidungserhebllche Frage zur Ausiogung der Richuinle
 200 1/291EG, die nicht durch die Rechtsprechung des Gerlchtshofs der Europäl
 schen Union geklärt oder zwelfeisfrel zu beantworten 1st (vgi. EuGH, Urteil vom
 6. Oktober 1982 -283181, 51g. 1982, 3415 = NJW 1983, 1257, 1258
 -C.l.L.Fj.T.; UrteU vom 1. Oktober 2015 -C-452114, GRUR mt 2015, 1152
 Rn. 43 AIFNDoc Generfci). Es 1st anhand der vom Gerichtshof aufgestoiiten
        -




 Beurteiiungskrlterlen nlcht zweifeihaft, dass ama offentiiche Wiedergabe ur
 heberrechtllch geschüWer Werke Im Sinne von Art. 3 Abs. I dar Richuinle
 20011291EG durch den Anbieter ether Suchfunktlon, der elnen Link auf ama
 Suchmaschlne setzt, nut in Betracht kommt, wenn dat Utheberrechtsinhaber
 die Veröffentllchung der Werke im fret zugãngllchen Internet nlcht erlaubt hat
 und feststeht, dass der Anbieter der Suchfunktion davon-Kenntnis hatte oder
 vernunfflgerwelse häfte haben können.




                                                    Exhibit_27age       ‘fô
     Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 44 of 54 Page ID
                                      #:41393


                                             -   34   -




79               13. Danach 1st dIe Revision gegen das Berufungsurtell auf Kosten der
          Klãgerin ( 97 Abs. I ZPO) zuruckzuweisen.


          Büschar                           Schaffert                       Klrchhoff

                         Koch                              Feddersen



          Vorinstanzen:
          LG Hamburg, Entscheidung vom 03.12.2010-310 0331/09      -


          OLG Hamburg, Entscheldung vom 10.12.2015-5 U 6/11    -




                                                             Exhibit__Page
Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 45 of 54 Page ID
                                 #:41394         (




                Exhibit 3
                Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 46 of 54 Page ID
                                                 #:41395

                                                     PERFECT 10
                                             DAVID J. PASTERNAK RECEIVER
                                             BUSINESS CHECKING ACCOUNT
                                              August 1,2017 throught August 31, 2017


     Oats       Num                 Name                                 Memo          Debit      Crudit      Balance
 BUSINESS CHECKING ACCOUNT 1st Century Bank a1c210012-1484
                               -                                                                                 402.33
  08131117 811-31   ICB                            811-8131117 Interest Income            0.01                   402.34

 Total BUSINESS CHECKING ACCOUNT 1st Century Bank &c21 0012.148.8 at July 31, 2017
                                    -                                                     0.01         0.00      402.34




                                                                                        Exhibit        Page
VBR, 09/07/17
36390/0001                                                                                                      Page 1 oIl
              Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 47 of 54 Page ID
                                               #:41396


                                                    PERFECT 10
                                          DAVID J. PASTERNAK RECEIVER
                                          BUSINESS CHECKING ACCOUNT
                                          September 1,2017 through September 30, 2017


    Date      Num                  Name                                Memo                          Debit     CredIt      Balance
BUSINESS CHECKING ACCOUNT 1st Centuly Bank &c#210012-1483
                               -
                                                                                                                               402.34
 09/15117 23F108   Glganews Inc.                  Receivership Cenificate #3                       75,000.00               75,402.34
 09/18/17 14898    Pastemak & Pasternak PiLC      Receiver’s Fees & Costs through 5131/17                        692.10    74,710.24
 09/18117 14895    Pastemak & Pastemak ALC        Receiver’s Fees & Costs through 0131117                      15,58473    59,125.51
 09)18117 14899    So Cal P Law Group             General Matters, Copyrights, Domain
                                                  Names, Trade Marks Through 5131/17
                                                  Balance                                                          68.63   59,036,68
 09118/17 14599    So Cal IP Law Group            General Matters, CopyrighLs, Domain
                                                  Names, Trade Marks Through 6130117                            1,014.24   58,022,64
 09118117 14899   So Cal P Law Group              Legal Fees & Costs Through 7131117                            1,044.46   56,978.18
Total BUStNESS CHECKING ACCOUNT 1st Century Sank akU210012-148-8 at September 30, 2017             75,000,00   18,424.16
                                   -
                                                                                                                           56,916.18




                                                                                         Exhibit     3 Page%3
                                                                                                                           Page 1 of 1
             Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 48 of 54 Page ID
                                              #:41397

                                                           PERFECT 10
                                                 DAVID J. PASTERNAK RECEIVER
                                                 BUSINESS CHECKING ACCOUNT
                                             October 1, 2017 through October 31, 2017



   Date        Num                   Name                                Memo                         Debit            Credit     Balance
BUSiNESS CHECKING ACCOUNT 1st Century Bank aIc#210012-1484
                                -                                                                                                  56,978.18
 a9130117    911-3OADJ 1CB                             911-9130117 Interest Income                       0.14                      56,97832
 10105117    817-1014  1CB                             811/XX-XXXXXXX Interest Income
                                                       (Bank CorrectIon)                                 1.42                      5697974
  10106117   14899     So Cal IP Law Group             Legal Fees & Costs Through 8131117                              4,639.58    52,14016
  10110117   14900     PaciticTiUe ArchWes             10117 Storage                                                     506.82    51,633.34
  10110117   14901     Pastemak & Pastemak ALC         Receive?s Fees & Costs through 9/30117                          2,214.79    49,418.55
  10110117   14902     So Cal IP Law Group             Domain Names through 9130/17                                       76.50    49,342.05
  10110117   14902     So Cal IP Law Group             Trademarks through 9130/17                                        255.00    49,087.05
  10131117   1011-31   ICB                             10Il-10I31117 Interest Income                     1.99                      49,069.04

Total BUSINESS CHECKING ACCOUNT 1st Century Bank aI2l0O12-148-8 at September 30, 2017
                                     -                                                                   3.55          7,892.69    49,089.04




                                                                                            Exhibit   3         Page   ‘P4         Page 1 oIl
               Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 49 of 54 Page ID
                                                #:41398


                                                    PERFECT 10
                                           DAVID I PASTERNAK RECEIVER
                                           BUSINESS CHECKING ACCOUNT
                                           November 1, 2017 through November 30, 2017


      Date     Num                  Name                                 Memo                  Debit     Credit     Balance
  BUSINESS CHECKING ACCOUNT 1st Century Bank Wc#210012-1483
                               -
                                                                                                                    49,059.04
    11130117 1111-30 1st Century Bank               11lI-11130117 Interest Income                 2.02              49091.05

 Total BUSINESS CHECKING ACCOUNT- 1st Century Bank alc#210012-148-8 at November 30,2017           2.02       0.00   49,091.06




ER, 12/747
9390/0001
                                                                                      ,


                                                                                 Exhibtt   3   Page                 Page 1   of 1
                Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 50 of 54 Page ID
                                                 #:41399

                                                              PERFECT 10
                                                    DAVID J. PASTERNAK RECEIVER
                                                    BUSINESS CHECKING ACCOUNT
                                                  December 1, 2017 through December31, 2017


     Date        Num                      Name                                Memo                    Debit     Credit     Balance
 BUSINESS CHECKING ACCOUNT -1st Century Bank alc#210012-1484                                                               49,091.06
   12107117    14903     Pacific Title Archives             11117-12117 Storage                                 1013.64    46077,42
   1V1I17      1211-31   1st Century Bank                   1211-12131117 Interest Income                2,06              48,079.48

 Total BUSINESS CHECKING ACCOUNT 1st Century Bank aftS210012-146-6 at December 31, 2017
                                          -                                                              2.06   1,013.64   46,079.48




t8R, 1/11/18
 6390/X01                                                                                   1xhibit   Page’                 Page 1 of 1
                  Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 51 of 54 Page ID
                                                   #:41400

                                                            PERFECT 10
                                                  DAVID J. PASTERNAK RECEIVER
                                                  BUSINESS CHECKING ACCOUNT
                                                  January 1,2018 through Janaury 31, 2016


      Data        Num                   Name                                 Memo                   Debit     Credit     Balance
  BUSINESS CHECKING ACCOUNT 1st Century Bank WcN210012-148-8
                                  -
                                                                                                                         46,079.48
   01/11/18 14904    Pacific fllleArcNves           1118 Storage                                                506.62   47,572.56
    01(11/18    14905    PaMemak & Pastemak ALC            Fees and Costs through 11/30/17                      67424    46,698A2
    01/11/18    14906    So Cal IP Law Group               Fees and 00515 through 11/30(17                    5017.61    41,660.61
    01/31/18    1/1-31   1st Century Bank                  1/1-1/31118 Interest Income                 1.94              41582.55

 Total BUSINESS CHECKING ACCOUNT 1st Century Bank a1210012-148-8 at Janaury 31, 2018
                                        -
                                                                                                       1.94   6,398.87   41,682.55




tSR, 02/15/18
5390/0001                                                                                Exhibit   3 Page                Page 1 of 1
              Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 52 of 54 Page ID
                                               #:41401


                1                                        PROOF OF SERVICE

                2   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                3        At the time of service, I was over 18 years of age and not a party to this action. I am
                  employed in the County of Los Angeles, State of California. My business address is 1875 Century
                4 Park East, Suite 2200, Los Angeles, CA 90067-2523.

                5           On January 4, 2019, I served true copies of the following document(s) described as
                    NOTICE OF HE2RING AND RECEIVER’S REVISED SECOND REPORT AND
                6   ACCOUNT FOR THE TIME PERIOD FROM AUGUST 1, 2017 THROUGH JMII:mRY
                    31, 2018 on the interested parties in this action as follows:
                7
                                                        See Attached Service List
                8
                  3 BY MAIL: I enclosed the document(s) in a sealed envelope or package addressed to the
                9 persons at the addresses listed in the service list. The envelope or package was mailed with
                  postage thereon ffilly prepaid. I am “readily familiar this firm’s practice of collection and
               10 processing correspondence for mailing. It is deposited with the U.S. Postal Service on the same
                  day in the ordinary course of business. lam aware that on motion of the party served, service is
               11 presumed invalid if postal cancellation date or postage meter date is more than 1 day after date of
                  deposit for mailing in affidavit.
               12
                  3 BY CMIECF NOTICE OF ELECTRONIC FILING: I electronically filed the document(s)
               13 with the Clerk of the Court by using the CM/ECF system. Participants in the case who are
                  registered CMIECF users will be served by the CM/ECF system. Participants in the case who are
               14 not registered CM/ECF users will be served by mail or by other means permitted by the court
                  rules.
               15
                          I declare under penalty of perjury under the laws of the State of California that the
               16 foregoing is true and correct.

               17           Executed on January 4, 2019, at Los Angeles, California.




 PASTERNAK
& PASTERNAK


                    {00173384.Docx 663900001
              Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 53 of 54 Page ID
                                               #:41402


               1               United States District Court for the Central District Of California
                                               (Western Division Los Angeles)
                                                                   -

               2
                                     Civil Docket For Case No.: 2:11-cv-07098-AB-(JPRi)
               3

                                                           Service List
               5
                   Lynell D. Davis, Esq.                         Counselfor Debto,; Norman Zada
               6
                   Perfect 10, Inc.
                   11803 Norfield Court
                   Los Angeles, CA 90077
               8   Telephone: 310.476.0700
                   Facsimile: 310.476.8138
                   E-Mail: )ynellDDavisesg(gmail.com\
              10
                   Eric J. Benink, Esq.                          Counselfor Fe,fect 10, Inc.
              11 Krause Kalfayan Benink and Slavens LLP
                   550 West C Street, Suite 530
              12   San Diego, CA 92101
                   Telephone: 619.232.0331
              13
                   Facsimile: 619.232.4019
              14   E-Mail: eric@kkbs-law.com

              15   Matthew C. Mickelson, Esq.                    Counselfor Fe,fect JO, Inc.
                   Law Offices of Matthew C. Mickelson
              16   16055 Ventura Boulevard, Suite 1230
                   Encino,CA91436
              17
                   Telephone: 818.832.3360
              18   Facsimile: 818.382.3364
                   E-Mail: maflmicke1sonbizla.ff.com
              19
                   David N. Schultz, Esq.                        Counselfor Ferfect 10, hic.
              20   1747 Preuss Road
                   Los Angeles, CA 90035
              21
                   Telephone: 310.839.3150
              22   E-Mail: schul 984yahoo.com

              23 Jonathan L. Abrams, Esq.                        Counselfor Defendant Giganews, Inc.
                 Anthony K. Brown, Esq.
              24 Abrams Brown LLP
                 2601 Ocean Park Boulevard, Suite 310
              25
                 Santa Monica, CA 90405-5270
              26 Telephone: 310.3145.8801
                 Facsimile: 310.496.0250
              27 E-Mail: iabrams@abramsbrown.com
                 E-Mail: tbrown@abramsbrown.com

 PASTERNAK
& PASTERNAK


                   (00173384.DOCX 66390.000!
              Case 2:11-cv-07098-AB-JPR Document 853 Filed 01/04/19 Page 54 of 54 Page ID
                                               #:41403


                1   Andrew P. Bridges, Esq.              Counselfor Defendant Giganews, Inc.
                    Jedediah Wakefield, Esq.
                2   Todd R. Gregorian, Esq.
                    Liwen A. Mah, Esq.
                    Fenwick& West LLP
                    555 California Street, 12th Floor
                    San Francisco, CA 94104
                5   Telephone: 415.875.2300
                    Facsimile: 415.281.1350
                6   E-Mail: abridges(fenwick.com
                    E-Mail: jwakefieldfenwick.com
                    E-Mail: tgregorianfenwick.com
                8   E-Mail: imah@fenwick.com

                9 Annasara G. Purcell, Esq.              Counselfor Defendant Giganews, Inc.
                  Armen N. Nercessian, Esq.
               10 Joseph S. Belichick, Esq.
                  Fenwick & West LLP
                  801 California Street
               12 Mountain  View, CA 94041
                  Telephone: 650.988.8500
               13 Facsimile: 650.988.5200
                  E-Mail: apurcell(fenwick.com
               14 E-Mail: anercessian(fenwick.com

               15 E-Mail: irubehWfenwick.com
                  E-Mail: ibelichick@fenwick.com
               16
                    Ronald P. Slates, Esq.               Counselfor Defendant Livewire Services,
               17 Law Offices of Ronald P. Slates PC     Inc
                  500 South Grand Avenue, Suite 2010
               18 Los Angeles, California 90071

               19 Telephone: (213) 624-1515
                  Facsimile: 213.624.7536
               20 E-Mail: rslates2(rslatesIaw.com
                  E-Mail: jkluewerrslateslaw.com
               21
                  Steven W. Yuen, Esq.                   Counselfor Objector John Doe 4352658
               22 Heath & Yuen, APC
               23 268 Bush Street, Suite 3006
                  San Francisco, CA 94104
               24 Telephone: 415.622.7004
                  Facsimile: 415.373.3957
               25 E-Mail: syuen(heathandyuen.com
               26

               27

               28
 PASTERNAK
S PASTERNAK


                    (0o173384.oocx 66390.000 I
